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         Prosecution for Contempt of Congress of an Executive
        Branch Official Who Has Asserted a Claim of Executive
                              Privilege

    As a m atter o f statutory construction and separation of powers analysis, a United States Attorney
       is not required to refer a congressional contem pt citation to a grand jury or otherw ise to
       prosecute an Executive Branch official who carries out the President's instruction to invoke
       the President’s claim o f executive privilege before a committee of Congress.

                                                                                                  M a y 30, 1984

                    Memo r      a ndum     O p in io   n for t he     At   t or ney    Gen er     a l


                                                 I. Introduction

       This memorandum memorializes our formal response to your request for our
    opinion whether, pursuant to the criminal contempt of Congress statute, 2
    U.S.C. §§ 192,194, a United States Attorney must prosecute or refer to a grand
    jury a citation for contempt of Congress issued with respect to an Executive
    Branch official who has asserted a claim of executive privilege in response to
    written instructions from the President of the United States. Your inquiry
    originally arose in the context of a resolution adopted by the House of Repre-
    sentatives on December 16, 1982, during the final days of the 97th Congress,
    which instructed the Speaker of the House of Representatives to certify the
    report of the Committee on Public Works and Transportation concerning the
    “contumacious conduct of [the] Administrator, United States Environmental
    Protection Agency, in failing and refusing to furnish certain documents in
    compliance with a subpena duces tecum of a duly constituted subcommittee of
    said committee . . . to the United States Attorney for the District of Columbia,
    to the end that the Administrator . . . may be proceeded against in the manner
    and form provided by law.” H.R. Res. 632, 97th Cong., 2d Sess. (1982).1
    Section 192 of Title 2, United States Code, provides, in general, that willful
    failure to produce documents in response to a congressional subpoena shall be
    a misdemeanor. Section 194 provides that if such a failure is reported to either
    house of Congress it “shall” be certified to the “appropriate United States attorney
    whose duty it shall be to bring the matter before the grand jury for its action.”

      1 A lthough the D ecem ber 1982 dispute is now a m atter o f history, it raises recurring issues.

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         Your inquiry presents a number of complex issues that will be considered in
      this memorandum. The first issue is whether the Executive retains some
      discretion with respect to referral of a contempt of Congress citation to a grand
      jury. This issue raises questions of statutory construction and the separation of
      powers with respect to the scope of the Executive’s exercise of prosecutorial
      discretion. The second issue is whether the criminal contempt of Congress
      statute applies to an Executive Branch official who, on the orders of the
      President, asserts the President’s claim of executive privilege. This issue also
      involves questions of statutory interpretation and the constitutional separation
      of powers.
         As we have previously discussed with you, and as we explain in detail in this
      memorandum, we have concluded that, as a matter of both statutory construc-
      tion and the Constitution’s structural separation of powers, a United States
      Attorney is not required to refer a contempt citation in these circumstances to a
      grand jury or otherwise to prosecute an Executive Branch official who is
      carrying out the President’s instruction in a factual context such as that pre-
      sented by the December 16, 1982, contempt citation. First, as a matter of
      statutory interpretation reinforced by compelling separation of powers consid-
      erations, we believe that Congress may not direct the Executive to prosecute a
      particular individual without leaving any discretion to the Executive to deter-
      mine whether a violation of the law has occurred. Second, as a matter of
      statutory interpretation and the constitutional separation of powers, we believe
      that the contempt of Congress statute was not intended to apply and could not
      constitutionally be applied to an Executive Branch official who asserts the
      President’s claim of executive privilege in this context.
         Our conclusions are predicated upon the proposition, endorsed by a unani-
      mous Supreme Court less than a decade ago, that the President has the author-
      ity, rooted inextricably in the separation of powers under the Constitution, to
      preserve the confidentiality o f certain Executive Branch documents. The
      President’s exercise of this privilege, particularly when based upon the written
      legal advice of the Attorney General, is presumptively valid. Because many of
      the documents over which the President may wish to assert a privilege are in
      the custody of a department head, a claim of privilege over those documents
      can be perfected only with the assistance of that official. If one House of
      Congress could make it a crime simply to assert the President’s presumptively
      valid claim, even if a court subsequently were to agree that the privilege claim
      were valid, the exercise of the privilege would be so burdened as to be nullified.
      Because Congress has other methods available to test the validity of a privilege
      claim and to obtain the documents that it seeks, even the threat of a criminal
      prosecution for asserting the claim is an unreasonable, unwarranted, and there-
      fore intolerable burden on the exercise by the President of his functions under
      the Constitution.
         Before setting out a more detailed explanation of our analysis and conclu-
      sions, we offer the caveat that our conclusions are limited to the unique
      circumstances that gave rise to these questions in late 1982 and early 1983.
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     Constitutional conflicts within the federal government must be resolved care-
     fully, based upon the facts of each specific case. Although tensions and friction
     between coordinate branches of our government are not novel and were, in fact,
     anticipated by the Framers of the Constitution, they have seldom led to major
     confrontations with clear and dispositive resolutions.

               The accommodations among the three branches of the govern-
               ment are not automatic. They are undefined, and in the very
               nature of things could not have been defined, by the Constitu-
               tion. To speak of lines of demarcation is to use an inapt figure.
               There are vast stretches of ambiguous territory.

       Frankfurter and Landis, P ow er o f Congress Over Procedure in Criminal
     Contempts in “Inferior" Federal Courts, 37 Harv. L. Rev. 1010, 1016 (1924)
     (emphasis in original). ‘The great ordinances of the Constitution do not estab-
     lish and divide fields of black and white.” Springer v. Philippine Islands, 277
     U.S. 189, 209 (1928) (Holmes, J., dissenting). Therefore, although we are
     confident of our conclusions, prudence suggests that they should be limited to
     controversies similar to the one to which this memorandum expressly relates,
     and the general statements of legal principles should be applied in other
     contexts only after careful analysis.

                                                II. Background

        Because the difficult and sensitive constitutional issues that we consider in
     this opinion could conceivably be resolved differently depending upon the
     specific facts of a controversy, this analysis is presented in the context of the
     December 16, 1982, actions of the House of Representatives. The facts sur-
     rounding this dispute will be set out in detail in the following pages.

     A. E P A ’s Enforcement o f the Superfund A ct

        On December 16, 1982, the House of Representatives cited the Administra-
     tor of the Environmental Protection Agency (EPA) because she declined to
     produce, in response to a broad subcommittee subpoena, a small portion of the
     subpoenaed documents concerning the Comprehensive Environmental Re-
     sponse, Compensation, and Liability Act, 42 U.S.C. §§ 9601, 9657 (Supp. V
     1981) (Superfund Act). The Superfund Act, adopted in December of 1980,
     authorizes the federal government to take steps to remedy the hazards posed by
     abandoned and inactive hazardous waste sites throughout the United States.2
     The EPA, which was delegated part of the President’s authority to enforce the
     Superfund Act in August of 1981,3 has considerable flexibility with respect to
       2 A nother statute, the R esource C onservation and R ecovery Act, 42 U.S.C. §§ 6901 et seq.%provides federal
     authority to deal with the current disposal o f hazardous industrial wastes.
       3 See Executive O rder No. 12316, “R esponses to Environm ental Damage” (A ug. 14, 1981).

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     how this goal may be accomplished. EPA may request the Department of
     Justice to proceed immediately against those responsible for the hazardous
     waste sites to “secure such relief as may be necessary to abate” an “imminent
     and substantial endangerment to the public health or welfare or the environ-
     ment.” See 42 U.S.C. § 9606. Alternatively, EPA may initiate clean-up efforts
     itself by using funds from the $1.6 billion Superfund. See 42 U.S.C. § 9631. If
     EPA itself implements the clean-up efforts, it may subsequently sue those
     responsible for the hazardous waste to recover the clean up cost and, in some
     instances, may obtain treble damages. See 42 U.S.C. § 9607. These two basic
     enforcement mechanisms are supplemented by other broad enforcement pow-
     ers, which authorize the issuance of administrative orders “necessary to protect
     the public health and welfare and the environment” and to require designated
     persons to furnish information about the storage, treatment, handling, or dis-
     posal of hazardous substances. See 42 U.S.C. §§ 9606, 9604(e)(1). Finally, the
     Superfund Act imposes criminal liability on a person in charge of a facility
     from which a hazardous substance is released, if that person fails to notify the
     government of the release. See 42 U.S.C. § 9603.
        Prior to the initiation of judicial proceedings, EPA must undertake intensive
     investigation and case preparation, including studying the nature and the extent
     of the hazard present at sites, identifying potentially responsible parties, and
     evaluating the evidence that exists or that must be generated to support govern-
     ment action. See Amended Declaration of Robert M. Perry, Associate Admin-
     istrator for Legal and Enforcement Counsel and General Counsel, EPA, filed in
     U nited States v. H ouse of Representatives, Civ. No. 82-3583 (D.D.C. Jan. 14,
     1983). Many sites apparently involve hundreds of waste generators; hence, the
     initial investigation of a site can take months and involve the examination of
     tens of thousands of documents. Id.
        Based on its initial investigations of hazardous waste sites throughout the
     country, EPA created a comprehensive national enforcement scheme and de-
     veloped during 1982 an interim priorities list, which identified the 160 sites
     that posed the greatest risk to the public health and welfare and the environ-
     ment.4 EPA also promulgated enforcement guidelines to direct the implemen-
     tation of the Superfund Act against these potentially hazardous sites. See 47
     Fed. Reg. 20664 (1982).
        Under this basic enforcement scheme, EPA commenced actual enforcement
     of the Superfund Act. As part of the enforcement effort with respect to each
     site, EPA generally develops a strategy for conducting negotiations and litiga-
     tion consistent with its overall enforcement goals and the individual facts of
     each particular case. Once a case strategy has been developed, EPA notifies
     responsible parties that it intends to take action at a site unless the parties
     undertake an adequate clean up program on their own. Following the issuance
     of notice letters, EPA typically negotiates with responsible parties to agree on a
       4 Subsequently, EPA published a proposed national priorities list (to replace the interim list), which
     identified the 418 sites that, in EPA’s ju d g m en t, required priority in use o f the Superfund to effect clean up.
     See 47 Fed. R eg. 58476 (1982)

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     clean up plan. These negotiations may involve hundreds of potentially respon-
     sible parties and millions of dollars in clean up costs. Depending upon the
     strengths and weaknesses of individual cases and the effect on the overall
     enforcement effort, EPA may decide to settle with some but not all parties and
     proceed to litigation with a certain number of potential defendants. If EPA
     decides to bring a lawsuit, it refers the case to the Land and Natural Resources
     Division of this Department, which is responsible for conducting the actual
     litigation.5
         During EPA’s enforcement of the Superfund Act, the agency created or
     received hundreds of thousands of documents concerning various aspects of
     the enforcement process. Many of these documents concerned the facts relating
     to specific hazardous waste sites; others involved general agency strategy and
     policies with respect to the Superfund Act; still others, a small portion of the
     enforcement files, were attorney and investigator memoranda and notes that
     contained discussions of subjects such as EPA’s enforcement strategy against
     particular defendants, analyses of the strengths and weaknesses of the
     government’s case against actual or potential defendants, consideration of
     negotiation and settlement strategy, lists of potential witnesses and their antici-
     pated testimony, and other litigation planning matters. Enforcement officials at
     both the career and policy level at EPA and in the Land and Natural Resources
     Division at the Department of Justice determined that some of those docu-
     ments, which concerned the legal merits and tactics with respect to individual
     defendants in open enforcement files, were particularly sensitive to the en-
     forcement process and could not be revealed outside the agencies directly
     involved in the enforcement effort without risking injury to EPA’s cases
     against these actual and potential defendants in particular and the EPA enforce-
     ment process in general.6

     B. The House Subcom m ittee’s Demands fo r Enforcement Files

       In the midst of EPA’s ongoing enforcement efforts under the Superfund Act,
    the Subcommittee on Oversight and Investigations of the House Committee on
    Public Works and Transportation (Public Works Subcommittee), chaired by
    Rep. Levitas, began hearings to review EPA enforcement of the Act. In the
    course of these hearings, the Public Works Subcommittee first demanded
    access to, and then subpoenaed, a wide range of documents concerning en-
    forcement of the Superfund Act with respect to the 160 sites that were on the

      5 We understand that as o f January 14, 1983, EPA had sent more than 1,760 notice letters, undertaken
    Superfund financed action at 112 sites involving the obligation o f in excess o f $236 m illion, instituted
    Superfund claim s in 25 ju d icial actions, and obtained one criminal conviction. As of the early months of
    1983, EPA and the D epartm ent o f Justice had reached settlem ents in 23 civil actions providing for the
    expenditure o f m ore than $121 million to conduct clean up operations and were actively negotiating with
    responsible parties concerning the clean up o f 56 sites throughout the country. See A m ended D eclaration o f
    Robert M. Perry, A ssociate A dm inistrator for Legal and Enforcem ent Counsel and General Counsel o f the
    EPA, filed in United States v. House o f Representatives, Civ. No. 82-3583 (D.D.C. Jan. 14, 1983).
      6 Id.

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      agency’s interim priorities list. The documents demanded by the Public Works
      Subcommittee included not only documents concerning the facts relating to
      these sites and EPA’s general policies, but also the sensitive material contained
      in open case files that set out discussions concerning case strategy with respect
      to actual and potential defendants.7 The Public Works Subcommittee subpoena
      was dated November 16,1982, and was served on November 22,1982. It called
      for production of the subpoenaed documents eleven days later on December 2,
       1982. The EPA Administrator responded to the Public Works Subcommittee’s
      subpoena by offering to provide the Public Works Subcommittee with access to
      an estimated 787,000 pages o f documents within the scope of the subpoena.8
      The EPA and the Land and Natural Resources Division officials responsible for
      conducting EPA enforcement litigation determined, however, that release out-
      side the enforcement agencies of a limited number of the most sensitive
      enforcement documents contained in open files concerning current and pro-
      spective defendants would impair EPA’s ongoing enforcement efforts and
      prevent EPA and the Department of Justice from effectively implementing the
      Superfund Act.
         Therefore, in accordance with the explicit guidelines adopted by the Presi-
      dent to govern possible claims of executive privilege, see Memorandum re:
      Procedures Governing Responses to Congressional Requests for Information
      (Nov. 4,1982), EPA suggested that some of the documents be withheld under a
      claim of executive privilege and consulted with this Office and the Office of
      the Counsel to the President in order to determine whether such a claim might
      be asserted to avoid impairing the constitutional responsibility of the President
      to take care that the laws be faithfully executed. A further review of the
      documents in question by enforcement officials at EPA and the Land and
      Natural Resources Division was then undertaken to confirm that the particular
      documents selected for consideration for an executive privilege claim were, in
      the judgment of those officials, sufficiently sensitive that their disclosure
      outside the Executive Branch might adversely affect the law enforcement
      process. The documents were then reviewed by officials in this Office and
      officials in the Office of the Counsel to the President to confirm that the
      documents were of the type described by the enforcement officials. Various
      unsuccessful efforts were thereafter made to resolve the dispute short of a final
      confrontation. The President, based upon the unanimous recommendation of
      all Executive Branch officials involved in the process, ultimately determined to
      assert a claim of executive privilege with respect to 64 documents from open
      enforcement files that had been identified as sufficiently enforcement sensitive

         7 The subpoena required Che EPA A dm inistrator to produce: all books, records, correspondence, memo-
      randa, papers, notes and documents draw n or received by the A dm inistrator and/or her representatives since
      D ecem b er 11, 1980, the date o f enactment o f the Superfund A ct, including duplicates and excepting shipping
      papers and o th e r com m ercial or business docum ents, contractor and/or other technical docum ents, for those
      sites listed as national priorities pursuant to Section 105(8)(B ) o f the Superfund Act. See United States v.
      House o f Representatives , 556 F. Supp. 150, 151 (D .D .C . 1983).
         8 See Testim ony o f A dm inistrator G orsuch before the Public W orks Subcom m ittee, attached as Exhibit C to
      D eclaration o f R obert M. Perry, supra.

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    as of the return date of the subpoena that their disclosure might adversely affect
    pending investigations and open enforcement proceedings. The President imple-
    mented this decision in a memorandum dated November 30, 1982, to the EPA
    Administrator, which instructed her to withhold the particularly sensitive docu-
    ments from disclosure outside the Executive Branch as long as the documents
    remained critical to ongoing or developing enforcement actions. The legal
    basis for this decision was explained in letters from the Attorney General on
    November 30, 1982, to the House Public Works Subcommittee and one other
    House subcommittee.9 On December 2, 1982, 64 of the most sensitive docu-
    ments were withheld from the Subcommittee.10

    C. The Contempt o f Congress Proceedings in the House o f Representatives

       The President’s assertion of executive privilege, and the Attorney General’s
    explanation of the law enforcement considerations and constitutional justifica-
    tion for the decision not to release the documents outside the Executive Branch
    while enforcement proceedings were ongoing, did not dissuade the congres-
    sional subcommittees from pressing their demands for the withheld material.
    After the EPA Administrator asserted the President’s claim of privilege at a
    December 2, 1982, Public Works Subcommittee hearing, the Subcommittee
    immediately approved a contempt of Congress resolution against her. The full
    Committee did likewise on December 10, 1982, and rejected a further proposal
    by the Department of Justice to establish a formal screening process and
    briefings regarding the contents of the documents.11 The full House adopted
    the contempt of Congress resolution on December 16, 1982,12 and the follow-

       9 See Letters to Hon. Elliott H. Levitas and Hon. John D. Dingell from Attorney General W illiam French
    Smith (Nov. 30, 1982). The Subcom m ittee on O versight and Investigations o f the House Energy and
    Com m erce Com m ittee (E nergy and C om m erce Subcom m ittee), chaired by R epresentative John D. D ingell,
    was pursuing a parallel dem and for sim ilar docum ents relating to enforcem ent o f the Superfund Act with
    respect to certain specific sites that were am ong the 160 on the interim priorities list. W hile the Energy and
    Com m erce Subcom m ittee sought docum ents relative to three specific hazardous waste sites, the Public
    W orks Subcom m ittee subpoena dem anded production o f virtually all docum ents for all 160 sites. The
    P resident's assertion o f executive privilege applied to both subpoenas. Although the Energy and Commerce
    Subcom m ittee approved a contem pt o f Congress resolution against the EPA A dm inistrator, this resolution
    never reached the full Com m ittee or the floor o f the H ouse of Representatives.
       10 As o f that date, EPA had been able to exam ine only a portion o f the hundreds o f thousands o f pages o f
    docum ents that had been subpoenaed. The 64 docum ents that were w ithheld were those am ong the subpoe-
    naed docum ents that had been review ed and determ ined to fall w ithin the President’s instruction not to
    produce docum ents the release o f which would adversely affect ongoing enforcem ent proceedings See
    Am ended D eclaration o f R obert M. Perry, supra
       11 See Letter to Hon. EHiott H. Levitas from Robert A. M cConnell, Assistant A ttorney G eneral, O ffice o f
    Legislative A ffairs (Dec. 9, 1982).
       12 The contem pt resolution stated:
            Resolved, That the Speaker o f the H ouse o f Representatives certify the report o f the Com m ittee
            on Public W orks and Transportation as to the contum acious conduct o f Anne M. G orsuch, as
            A dm inistrator, United States Environm ental Protection Agency, in failing and refusing to furnish
           certain documents in com pliance w ith a subpena duces tecum o f a duly constituted subcom m ittee
            of said com m ittee served upon A nne M. Gorsuch, as A dm inistrator, United States Environm ental
            Protection Agency, and as ordered by the subcom m ittee, together with all o f the facts in
                                                        C ontinued

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       ing day Speaker O’Neill certified the contempt citation to the United States
       Attorney for the District o f Columbia for prosecution under the criminal
       contempt of Congress statute.

       D. The C rim inal Contempt o f Congress Statute

         The criminal contempt of Congress statute contains two principal sections, 2
       U.S.C. §§ 192 & 194.13 Section 192, which sets forth the criminal offense of
       contempt of Congress, provides in pertinent part:
                     Every person who having been summoned as a witness by the
                  authority of either House of Congress to give testimony or to
                  produce papers upon any matter under inquiry before either
                  House . . . or any committee of either House of Congress, will-
                  fully makes default, or who, having appeared, refuses to answer
                  any question pertinent to the question under inquiry, shall be
                  deemed guilty of a misdemeanor, punishable by a fine of not
                  more than $1,000 nor less than $100 and imprisonment in a com-
                  mon jail for not less than one month nor more than twelve months.
       Section 194 purports to impose mandatory duties on the Speaker of the House
       or the President of the Senate, as the case may be, and the United States
       Attorney, to take certain actions leading to the prosecution of persons certified
       by a house of Congress to have failed to produce information in response to a
       subpoena. It provides:
                    Whenever a witness summoned as mentioned in section 192
                 of this title fails to appear to testify or fails to produce any
                 books, papers, records, or documents, as required, or whenever
                 any witness so summoned refuses to answer any question perti-
                 nent to the subject under inquiry before either House . . . or any
                 committee or subcommittee of either House of Congress, and
                 the fact of such failure or failures is reported to either House
                 while Congress is in session or when Congress is not in session,
                 a statement of fact constituting such failure is reported and filed
                 with the President of the Senate or the Speaker of the House, it
                 shall be the duty o f the said President o f the Senate or the
                 Speaker o f the House, as the case may be, to certify, and he shall
                 so certify, the statem ent o f fa c ts aforesaid under the seal of the
        12 ( . . . continued)
              connection therew ith, under seal o f the H ouse o f R epresentatives, to the U nited States attorney
              fo r the D istn ct o f Columbia, to th e end that A nne M . G orsuch, as A dm inistrator, United States
              Environm ental Protection A gency, may be proceeded against in the m anner and form provided
              by law.
      128 C ong. R ec. 31754 (1982).
         13 A third provision, 2 U .S.C. § 193, w hich denies the existence o f any testim onial privilege for a w itness to
      refuse to testify on the ground that this testim ony w ould disgrace him , is not relevant to the issues discussed
      in this m em orandum .

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              Senate or House, as the case may be, to the appropriate United
              States attorney, whose duty it shall be to bring the m atter before
              the grand ju ry fo r its action.

    (Emphasis added.)

    E. The D epartm ent o f Justice Civil Suit

       Immediately after the House passed the resolution adopting the finding that
    the EPA Administrator was in contempt of Congress, the Department of Justice
    filed a civil suit in the United States District Court for the District of Columbia
    to obtain a ruling that “insofar as [the EPA] Administrator . . . did not comply
    with the Subpoena, her non-compliance was lawful” because of a valid Presi-
    dential claim of executive privilege.14 The House moved to dismiss the
    Department’s complaint on jurisdictional grounds, and the Department cross
    moved for summary judgment on the merits. In a letter to Speaker O’Neill
    dated December 27, 1982, the United States Attorney indicated that during the
    pendency of the lawsuit, he would take no further action with respect to the
    Speaker’s referral of the contempt citation. The Speaker responded in a letter
    dated January 4, 1983, in which he took the position that the United States
    Attorney must, as a matter of law, immediately refer the matter to a grand jury.
       The trial court responded to the cross-motions for dismissal and summary
    judgment by exercising its discretion under equitable rules of judicial restraint not to
    accept jurisdiction over the lawsuit, and it dismissed the suit. The court concluded:
              When constitutional disputes arise concerning the respective
              powers of the Legislative and Executive Branches, judicial in-
              tervention should be delayed until all possibilities for settlement
              have been exhausted. .. .
              The difficulties apparent in prosecuting [the] Administrator . ..
              for contempt of Congress should encourage the two branches to
              settle their differences without further judicial involvement.
     United States v. House o f Representatives, 556 F. Supp. 150, 152-53 (D.D.C.
     1983). No appeal was taken.15
       l*See A m ended C om plaint in United States v. House o f Representatives, Civ. No. 82-3583 (D.D.C. Dec.
    29, 1982).
       15 A lthough the U nited States C ourt o f A ppeals for the D istrict o f C olum bia Circuit previously had been
    willing to entertain a civil action to resolve a conflict betw een a congressional subpoena for docum ents and a
    Presidential claim o f executive privilege when the action was brought by a congressional com m ittee, Senate
    Select Committee on Presidential Campaign Activities v. Nixon, 498 F.2d 725 (D.C. Cir 1974) (en banc), the
    trial court decision in the EPA m atter casts some doubt on the viability o f such an action w hen C ongress, as in
    this case, does not wish to resolve the controversy in a civil suit. W e must assum e, for the purpose o f this
    opinion, that a civil suit is an avenue that is open to Congress, but closed to the Executive, absent a legislature
    willing to have the m atter resolved in a civil proceeding.
       O f course, the courts m ight be more amenable to a civil action challenging a contem pt c itation if they felt
    that a crim inal prosecution in this context was untenable. The d istn c t court judge in the EPA m atter noted but
    did not attem pt to consider in depth the “difficulties” o f prosecuting an executive official for carrying o ut the
    P resident’s constitutional responsibility.

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        F. Resolution o f the EPA Dispute

           Subsequent to the trial court decision, the two branches engaged in negotia-
       tions to reach a compromise settlement. The parties eventually reached an
       agreement under which the Public Works Subcommittee would have limited
       access to the withheld documents and would sponsor a resolution to “with-
       draw” the contempt citation against the EPA Administrator. Pursuant to the
       agreement, the Subcommittee reviewed the documents, and the House later
       adopted a resolution withdrawing the contempt citation. H.R. Res. 180, 98th
       Cong., 1st Sess. (Aug. 3, 1983). The issue whether the House of Representa-
       tives in the 98th Congress could “withdraw” the contempt citation of the House
       during the 97th Congress was never resolved.
          During the pendency of the lawsuit and the subsequent settlement negotia-
       tions, the United States Attorney for the District of Columbia refrained from
       referring the contempt citation to the grand jury. The United States Attorney
       took the position that referral would have been inappropriate during that period
       and that the statute left him with discretion to withhold referral. See Testimony
       of Stanley S. Harris before the House Committee on Public Works and Trans-
       portation, 98th Cong., 1st Sess. 100-07 (June 16,1983). Following the passage
       of the resolution withdrawing the contempt citation, “the relevant facts and
       documents were presented . . . to a federal grand jury, which voted unani-
       mously not to indict [the EPA Administrator].” Letter from Stanley S. Harris,
       United States Attorney, District of Columbia, to Honorable Thomas P. O’Neill,
       Jr., Speaker of the House of Representatives (Aug. 5, 1983).

              HH. Generally Applicable Legal Primciples: The Separation! off
              Powers, tlhe Dirties off line Executive to Emfforce the Law, and
               ttltoe Derivation and Scope off tine Primciples off Prosecutorial
                              Discretion] amd Executive Privilege

       A. The Separation o f Powers

          The basic structural concept of the United States Constitution is the division
       of federal power among three branches of government. Although the expres-
       sion “separation of powers” does not actually appear in the Constitution, the
       Supreme Court has emphasized that the separation of powers “is at the heart of
       our Constitution,” and has recognized “the intent of the Framers that the
       powers of the three great branches of the National Government be largely
       separate from one another.” Buckley v. Valeo, 424 U.S. 1, 119-20 (1976). It
       needs little emphasis that the separation of powers doctrine is vital to any
       analysis of the relative responsibilities of the branches of our government, inter
       se. In The F ederalist No. 47, James Madison, who believed that “no political
       truth is certainly of greater intrinsic value, or is stamped with the authority of
       more enlightened patrons of liberty” than the concept of the separation of
       powers, defended this tripartite arrangement in the Constitution by citing
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     Montesquieu’s well-known maxim that the legislative, executive, and judicial
     departments should be separate and distinct:

                  The reasons on which Montesquieu grounds his maxim are a
               further demonstration of his meaning. “When the legislative and
               executive powers are united in the same person or body,” says
               he, “there can be no liberty, because apprehensions may arise
               lest the same monarch or senate should enact tyrannical laws to
               execute them in a tyrannical manner.” Again: “Were the power
               of judging joined with the legislative, the life and liberty of the
               subject would be exposed to arbitrary control, for the judge
               would then be the legislator. Were it joined to the executive
               power, the ju d g e might behave with all the violence of an
               oppressor.”

     The Federalist No. 47, at 303 (J. Madison) (C. Rossiter ed. 1961); see Buckley
     v. Valeo , 424 U.S. at 120-21.16
        Of the three branches of the new government created in Philadelphia in
     1787, the legislature was regarded as the most intrinsically powerful, and the
     branch with powers that required the exercise of the greatest precautions.
        Madison warned that the “legislative department is everywhere extending
     the sphere of its activity and drawing all power into its impetuous vortex.” The
     Federalist No. 48, supra, at 309. He admonished that because of their experi-
     ences in England, the founders of the thirteen colonies had focused keenly on
     the danger to liberty from an “overgrown and all-grasping prerogative of an
     hereditary magistrate, supported and fortified by an hereditary branch of the
     legislative authority,” but had tended to ignore the very real dangers from
     “legislative usurpations, which, by assembling all power in the same hands,
     must lead to the same tyranny as is threatened by executive usurpations.” Id.
     Reflecting the views of many of his colleagues, Madison believed that although
     the risk of tyranny would naturally come from the King in an hereditary
     monarchy, in a representative republic, like that created by the constitutional
     convention, in which executive power was “carefully limited, both in the extent
     and duration of its power,” the threat to liberty would come from the legislature,
               which is inspired, by a supposed influence over the people, with
               an intrepid confidence in its own strength; which is sufficiently
               numerous to feel all the passions which actuate a multitude, yet
               not so numerous as to be incapable of pursuing the objects of its
               passions by means which reason prescribes; it is against the
               enterprising ambition of this department that the people ought to
               indulge all their jealousy and exhaust all their precautions.
     Id.

       16 M adison characterized M ontesquieu as the “oracle who is always consulted and cited on [the] su b ject [of
     the separation o f pow ers].” See The Federalist No. 47, supra, at 301.

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          The Framers feared that the legislature’s power over the purse would foster a
      dependence by the executive departments on the legislature “which gives still
      greater facility to encroachments” by the legislature on the powers of the
      Executive. Id. at 310. The concerns of the Framers with respect to the power of
      the legislature have been recognized by the Supreme Court. The Court, citing
      many of the above statements, has observed that because of the Framers’
      concerns about the potential abuse of legislative power, “barriers had to be
      erected to ensure that the legislature would not overstep the bounds of its
      authority and perform functions of the other departments.” United States v.
      Brown, 381 U.S. 437, 444 (1965). Justice Powell noted that “during the
      Confederation, the States reacted by removing power from the executive and
      placing it in the hands of elected legislators. But many legislators proved to be
      little better than the Crown.” I N S \. Chadha, 462 U.S. 917,961 (1983) (Powell,
      J. concurring). After citing several specific legislative abuses that had been of
      particular concern to the Framers, Justice Powell concluded that it “was to
      prevent the recurrence of such abuses that the Framers vested the executive,
      legislative, and judicial powers in separate branches.” Id. at 962.
         Thus, the careful separation of governmental functions among three branches
      of government was a very deliberate and vital structural step in building the
      Constitution. The Framers understood human nature and anticipated that well-
      intentioned impulses would lead each of the branches to attempt to encroach on
      the powers allocated to the others. They accordingly designed the structure of
      the Constitution to contain intrinsic checks to prevent undue encroachment
      wherever possible. Particular care was taken with respect to the anticipated
      tendency of the Legislative Branch to swallow up the Executive. The Framers
      did not wish the Legislative Branch to have excessive authority over the
      individual decisions respecting the execution of the laws: “An elective despo-
      tism was not the government we fought for.” T. Jefferson, Notes on the State o f
      Virginia 120 (Univ. N.C. Press ed. 1955)17 The constitutionally prescribed
      separation of powers creates enforceable abuses that had been of particular
      concern to the Framers, Justice Powell concluded that it “was to prevent the
      recurrence of such abuses that the Framers vested the executive, legislative,
      and judicial powers in separate branches.” Id. The division of delegated powers
      was designed “to assure, as nearly as possible, that each Branch of government
      would confine itself to its assigned responsibility.” INS v. Chadha, 462 U.S. at
      951. The doctrine of separated powers “may be violated in two ways. One
      branch may interfere impermissibly with the other’s performance of its consti-
        17 It is notew orthy, at least from an historical perspective, that the House o f R epresentatives, because o f its
      im m ense pow ers, w as considered to be the governm ental body least vulnerable to encroachm ents by other
      segm ents o f governm ent and, at the same tim e, because o f its popular origin and frequent renewal o f authority
      by the people, the body w hose encroachm ent on the other branches would be least distrusted by the public.
      The Suprem e C o u rt later noted:
            It is all the m ore necessary, therefore, that the exercise o f pow er by this body, when acting
            sep arately from and independently o f all other depositories o f pow er, should be watched with
            v igilance, and w hen called in question before any other tribunal having the right to pass upon it
            that it should receive the most careful scrutiny.
      Kilboum v. Thompson, 103 U .S. 168, 192 (1881).

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    tutionally assigned function. Alternatively, the doctrine may be violated when
    one branch assumes a function that more properly is entrusted to another. Id. at
    963 (Powell, J. concurring) (citations omitted). Although the Supreme Court
    has recognized that “a hermetic sealing off of the three branches of Govern-
    ment from one another would preclude the establishment of a Nation capable of
    governing itself effectively,” it has also emphasized that the Court “has not
    hesitated to enforce the principle of separation of powers embodied in the
    Constitution when its application has proved necessary for the decision of
    cases or controversies properly before it.” Buckley v. Valeo, 424 U.S. at 121,
    123. Therefore, although the Constitution does not contemplate “a complete
    division of authority between the three branches,” each branch retains certain
    core prerogatives upon which the other branches may not transgress. Nixon v.
    Adm inistrator o f Gen. Servs., 433 U.S. 425, 443 (1977). Each branch must not
    only perform its own delegated functions, but each has an additional duty to
    resist encroachment by the other branches. “The hydraulic pressure inherent
    within each of the separate Branches to exceed the outer limits of its power,
    even to accomplish desirable objectives, must be resisted.” INS v. Chadha, 462
    U.S. at 951 (emphasis added).

    B. The Duties o f the Executive to Enforce the Law

       The fundamental responsibility and power of the Executive Branch is the
    duty to execute the law. Article II, § 1 of the Constitution expressly vests the
    executive power in the President. Article II, § 3 commands that the President
    “take Care that the Laws be faithfully executed.” Enforcement of the laws is an
    inherently executive function, and by virtue of these constitutional provisions,
    the Executive Branch has the exclusive constitutional authority to enforce
    federal laws. Since the adoption of the Constitution, these verities have been at
    the heart of the general understanding of the Executive’s constitutional author-
    ity. During the debates on the Constitution, James Wilson noted that the “only
    powers he conceived strictly executive were those of executing the laws.” 1 M.
    Farrand, The Records o f the Federal Convention o f 1787, at 65-66 (1937).
    During the first Congress, James Madison stated that “if any power whatsoever
    is in its nature executive, it is the power of appointing, overseeing, and
    controlling those who execute the laws.” 1 Annals o f Congress 481 (1789). The
    Supreme Court has recognized this fundamental constitutional principle. In
    Springer v. Philippine Islands, 277 U.S. 189 (1928), the Court observed:

           Legislative power, as distinguished from executive power, is the
           authority to make laws, but not to enforce them or appoint the
           agents charged with the duty of such enforcement. The latter are
           executive functions.
    Id. at 202. More recently, Judge Wilkey, writing for a unanimous panel of the
    United States Court of Appeals for the District of Columbia Circuit in a
    decision later affirmed by the Supreme Court, recognized that the Constitution
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       prevents Congress from exercising its power of “oversight, with an eye to
       legislative revision,” in a manner that amounts to “shared administration” of
       the law. Consum er Energy Council o f A m erica v. Federal Energy Regulatory
       Com m ission, 673 F.2d 425, 474 (D.C. Cir. 1982), a j f d sub nom. Process Gas
       Consum ers Group v. Consumer Energy Council o f America, 43 U.S. 1216
       (1983). It thus seems apparent that the drafters of the Constitution intended
       clearly to separate the power to adopt laws and the power to enforce them and
       intended to place the latter power exclusively in the Executive Branch.18 As a
       practical matter, this means that there are constitutional limits on Congress’
       ability to take actions that either disrupt the ability of the Executive Branch to
       enforce the law or effectively arrogate to Congress the power of enforcing the
       laws.

       C. The D erivation an d Scope o f Prosecutorial Discretion and Executive
           P rivilege

          The issues addressed by this memorandum involve two important constitu-
       tional doctrines that spring from the constitutional limits imposed by the
       separation of powers and the Executive’s duty to enforce the laws: prosecutorial
       discretion and executive privilege.

           1. Prosecutorial Discretion

          The doctrine of prosecutorial discretion is based on the premise that because
       the essential core of the President’s constitutional responsibility is the duty to
       enforce the laws, the Executive Branch has exclusive authority to initiate and
       prosecute actions to enforce the laws adopted by Congress. That principle was
       reaffirmed by the Supreme Court in Buckley v. Valeo, 424 U.S. 1 (1976), in
       which the Court invalidated the provision of the Federal Election Act that
       vested the appointment of certain members of the Federal Election Commis-
       sion in the President pro tem pore of the Senate and the Speaker of the House. In
       so holding, the Court recognized the exclusively executive nature of some of
       the Commission’s powers, including the right to commence litigation:
                     The Commission’s enforcement power, exemplified by its
                  discretionary power to seek judicial relief, is authority that
                  cannot possibly be regarded as merely in aid of the legislative
                  function of Congress. A lawsuit is the ultimate remedy for a
                  breach of the law, and it is to the President, and not to the
                  Congress, that the Constitution entrusts the responsibility to
                  “take care that the laws be faithfully executed.” Art. II, § 3.
       424 U.S. at 138.
          18 O f equal concern w as the need to separate the judicial pow er from the executive pow er. The drafters
       intended to preserve the impartiality o f th e judiciary as “neutral arbiters in the criminal law ” by separating the
       ju diciary from the prosecutorial function. Nader v. Saxbe , 497 F.2d 676, 679 n.18 (D.C Cir. 1974).

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        The Executive’s exclusive authority to prosecute violations of the law gives
     rise to the corollary that neither the Judicial nor Legislative Branches may
     directly interfere with the prosecutorial discretion of the Executive by directing
     the Executive Branch to prosecute particular individuals. This principle was
     explained in Smith v. United States, 375 F.2d 243 (5th Cir.), cert, denied, 389
     U.S. 841 (1967), in which the court considered the applicability of the Federal
     Tort Claims Act to a prosecutorial decision not to arrest or prosecute persons
     injuring plaintiffs business. The court ruled that the government was immune
     from suit under the discretionary decision exception of the Act on the ground
     that the Executive’s prosecutorial discretion was rooted in the separation of
     powers under the Constitution:

               The President of the United States is charged in Article 2,
            Section 3, of the Constitution with the duty to “take Care that the
            Laws be faithfully executed.” The Attorney General is the
            President’s surrogate in the prosecution of all offenses against
            the United States. . . . The discretion of the Attorney General in
            choosing whether to prosecute or not to prosecute, or to abandon
            a prosecution already started, is absolute. . .. This discretion is
            required in all cases.
              We emphasize that this discretion, exercised in even the
            lowliest and least consequential cases, can affect the policies,
            duties, and success of a function placed under the control of the
            Attorney General by our Constitution and statutes.
     375 F.2d at 246—47. The court went on to state that this prosecutorial discretion
     is protected “no matter whether these decisions are made during the investiga-
     tion or prosecution of offenses.” Id. at 248.
        The limits and precise nature of the Executive’s prosecutorial discretion are
     discussed in greater detail below. At this point in our examination of the issues
     considered in this memorandum, it is sufficient to observe that meaningful and
     significant separation of powers issues are raised by a statute that purports to
     direct the Executive to take specified, mandatory prosecutorial action against a
     specific individual designated by the Legislative Branch.

       2. Executive Privilege

        The doctrine of executive privilege is founded upon the basic principle that
     in order for the President to carry out his constitutional responsibility to
     enforce the laws, he must be able to protect the confidentiality of certain types
     of documents and communications within the Executive Branch. If disclosure
     of certain documents outside the Executive Branch would impair the President’s
     ability to fulfill his constitutional duties or result in the impermissible involve-
     ment of other branches in the enforcement of the law, then the President must
     be able to claim some form of privilege to preserve his constitutional preroga-
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      tives. This “executive privilege” has been explicitly recognized by the Su-
      preme Court, which has stated that the privilege is “fundamental to the opera-
      tion of Government and inextricably rooted in the separation of powers under
      the Constitution.” United States v. Nixon, 418 U.S. 683, 708 (1974). We
      believe that it is beyond peradventure that the constitutionally mandated sepa-
      ration of powers permits the President to prevent disclosure of certain Execu-
      tive Branch documents under the doctrine of executive privilege and that the
      ability to assert this privilege is fundamental to the President’s ability to carry
      out his constitutionally prescribed duties.
         The Supreme Court has suggested that in some areas the President’s execu-
      tive privilege may be absolute and in some circumstances it is a qualified
      privilege that may be overcome by a compelling interest of another branch.
      U nited States v. Nixon, 418 U.S. at 713; see also Senate Select Comm, on
      P residential Cam paign Activities v. Nixon, 498 F.2d 725 (D.C. Cir. 1974) (en
      banc). Nevertheless, the unanimous Supreme Court decision in Nixon clearly
      stands for the proposition that there is a privilege, that it stems from the
      separation of powers, and that it may be invoked (although perhaps overridden
      by a court) whenever the President finds it necessary to maintain the confiden-
      tiality of information within the Executive Branch in order to perform his
      constitutionally assigned responsibilities.19
         The scope of executive privilege includes several related areas in which
      confidentiality within the Executive Branch is necessary for the effective
      execution of the laws. First, as the Supreme Court has held, the privilege
      protects deliberative communications between the President and his advisors.
      The Court has identified the rationale for this aspect of the privilege as the valid
      need for protection of communications between high government officials and
      those who advise and assist them in the performance of their manifold duties;
      the importance of this confidentiality is too plain to require further discussion.
      Human experience teaches that those who expect public dissemination of their
      remarks may well temper candor with a concern for appearances and for their
      own interests to the detriment of the decisionmaking process. United States v.
      Nixon, 418 U.S. at 705 (footnotes omitted).
         Another category of Executive Branch material that is subject to a President’s
      claim of privilege is material necessary “to protect military, diplomatic, or
      sensitive national security secrets.” U nited States v. Nixon, 418 U.S. 683, 706
      (1974). In Nixon, the Court stated:
                As to those areas of Art. II duties the courts have traditionally
                shown the utmost deference to Presidential responsibilities. In
                C.& S. A ir Lines v. Waterman S.S. Corp., 333 U.S. 103, 111


         19 Presidents have invoked the privilege throughout o ur history for a variety o f reasons. See, e.g., “History
      o f R efusals by Executive Branch to Provide Inform ation D em anded by C ongress,” 6 Op. O.L.C. 751 (1982);
      M em orandum from John H arm on, A ssistant Attorney G eneral, O ffice o f Legal Counsel, to Robert Lipschutz,
      C ounsel to the P resident (June 8, 1977); Position o f the Executive D epartm ent Regarding Investigative
      R eports, 4 0 O p. A tt’y Gen. 45 (1941).

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               (1948), dealing with Presidential authority involving foreign
               policy considerations, the Court said:
                     “The President, both as Commander-in-Chief and as the
                   Nation’s organ for foreign affairs, has available intelli-
                   gence services whose reports are not and ought not to be
                   published to the world. It would be intolerable that courts,
                   without the relevant information, should review and per-
                   haps nullify actions of the Executive taken on information
                   properly held secret.”
               In United States v. Reynolds, 345 U.S. 1 (1953), dealing with a
               claimant’s demand for evidence in a Tort Claims Act case
               against the Government, the Court said:
                   “It may be possible to satisfy the court, from all the
                   circumstances of the case, that there is a reasonable dan-
                   ger that compulsion of the evidence will expose military
                   matters which, in the interest of national security, should
                   not be divulged. When this is the case, the occasion for the
                   privilege is appropriate, and the court should not jeopar-
                   dize the security which the privilege is meant to protect by
                   insisting upon an examination of the evidence, even by the
                   judge alone, in chambers.” Id. at 10.
               No case of the Court, however, has extended this high degree of
               deference to a President’s generalized interest in confidentiality.
               Nowhere in the Constitution, as we have noted earlier, is there
               any explicit reference to a privilege of confidentiality, yet to the
               extent this interest relates to the effective discharge o f a
               President’s powers, it is constitutionally based.
     418 U.S. at 710-11.
        An additional important application of executive privilege, which, as noted
     earlier, relates centrally to the discharge of the President’s constitutional du-
     ties, involves open law enforcement files. Since the early part of the 19th
     century, Presidents have steadfastly protected the confidentiality and integrity
     of investigative files from untimely, inappropriate, or uncontrollable access by
     the other branches, particularly the legislature.20 The basis for this application

        20 As explained by A ttorney General (later. Supreme Court Justice) Robert Jackson in A pril 1941:
               D isclosure o f the reports could not do otherw ise than seriously prejudice law enforcem ent.
            Counsel for a defendant o r prospective defendant, could have no greater help than to know how
            m uch o r how little inform ation the G overnm ent has, and w hat w itnesses o r sources o f inform a-
            tion it can rely upon.
     4 0 Op. A tt'y Gen. 45, 46 (1941). As sim ilarly expressed a few years later by Deputy A ssistant A ttorney
     Genera] K a u p er
              O ver a num ber o f years, a num ber o f reasons have been advanced for the traditional refusal o f
            the Executive to supply C ongress with inform ation from open investigational files. M ost impor-
                                                          C ontinued

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        of the privilege is essentially the same as for all aspects of executive privilege;
        the Executive’s ability to enforce the law would be seriously impaired, and the
        impermissible involvement o f other branches in the execution and enforcement
        of the law would be intolerably expanded, if the Executive were forced to
        disclose sensitive information on case investigations and strategy from open
        enforcement files.

              IV. Tlhe ©unity off the Executive Branncli WItaeim aimExecutive Official
                   Has l e a Cited for Comtempt off Comgress (For Assenting
                          CUne IPresidennt’s Claim off Executive Privilege

       A. Prosecutorial Discretion

          The first specific question that is presented by the circumstances that gave
       rise to this memorandum is whether the United States Attorney is required to
       refer every contempt of Congress citation to a grand jury. This question raises
       issues of statutory construction as well as the constitutional limits of prosecutorial
       discretion. We deal first with the statutory questions.
          As a preliminary matter, we note that § 194 does not on its face actually
       purport to require the United States Attorney to proceed with the prosecution of
       a person cited by a house of Congress for contempt; by its express terms the
       statute discusses only referral to a grand jury. Even if a grand jury were to
       return a true bill, the United States Attorney could refuse to sign the indictment
       and thereby prevent the case from going forward. United States v. Cox, 342
       F.2d 167 (5th Cir.) (en banc), cert, denied, 381 U.S. 935 (1965); In re Grand
       Jury, January, 1969, 315 F. Supp. 662 (D. Md. 1970). See Hamilton &
       Grabow, A Legislative Proposal fo r Resolving Executive Privilege Disputes
       Precipitated by Congressional Subpoenas, 21 Harv. J. on Legis. 145, 155
       (1984). Thus, as a matter of statutory interpretation, there is no doubt that the
       contempt of Congress statute does not require a prosecution; the only question
       is whether it requires referral to the grand jury.21
          20 (. . . continued)
               tant, the E xecutive cannot effectively investigate if Congress is, in a sense, a partner in the
               investigation. If a congressional com m ittee is fully apprised o f all details of an investigation as
               the investigation proceeds, there is a substantial danger that congressional pressures will influ*
               ence the course o f the investigation.
       M em orandum fo r the D eputy Counsel to the President from D eputy A ssistant Attorney General K auper re:
       Subm ission o f O pen C ID Investigation F iles (Dec. 19, 1969). This significant constitutional privilege
       provides a foundation for our discussion b elo w o f the penalties that C ongress may attach to the President’s
       assertion o f the privilege in response to a congressional subpoena.
          21 A lthough it is by no m eans certain as a m atter o f law, if the case w ere referred to a grand jury, the United
       States A ttorney m ight be required to take certa in steps short o f signing the indictment, and the grand ju ry ’s
       decision m ight w ell becom e public. In Cox, a majority o f the court (m ade up o f the three dissenting judges
       and one concurring ju d g e) took the view th a t the United States Attorney could be required to prepare an
       indictm ent fo r use by the grand jury. In addition, the district court in In re Grand Jury , supra, held that even
       though the U nited States A ttorney could not b e required to sign an indictm ent, in the circum stances o f that
       c ase “the substance o f the c harges in the indictm ent should be disclosed, om itting certain portions as to which
                                                             Continued


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         1. Previous Department of Justice Positions Concerning Prosecutorial
            Discretion Under the Contempt of Congress Statute

       In the past, the Department of Justice has taken the position that if Congress
    cited an executive officer for contempt because of an assertion of executive
    privilege and “the Department determined to its satisfaction that the claim was
    rightfully made, it would not, in the exercise of its prosecutorial discretion,
    present the matter to a grand jury.” Testimony of Assistant Attorney General
    (now Solicitor General) Rex Lee, Hearings on Representation o f Congress and
    Congressional Interests in Court, Before the Subcomm. on Separation o f
    Powers o f the Senate Committee on the Judiciary, 94th Cong., 2d Sess. 8
    (1976).
       This principle of prosecutorial discretion under the contempt of Congress
    statute was followed by the Department in the cases of three officials of the
    Port of New York Authority who were cited for contempt of Congress in 1960
    for refusing to produce documents to the House Judiciary Committee. As a part
    of an investigation of the Port Authority, which had been established by an
    interstate compact approved by Congress, the Judiciary Committee subpoe-
    naed a large number of documents concerning the Port Authority’s operations,
    most of which the Port Authority declined to produce on the orders of the
    governors of New York and New Jersey (the states within which the Port
    Authority was located). Because of the failure to produce the documents, the
    Committee recommended, and the House adopted, contempt resolutions against
    three principal officials of the Port Authority.22 On August 23, 1960, these
    resolutions were referred to the United States Attorney for prosecution. See
    N .Y. Times, Aug. 24,1960, at 1. The United States Attorney never referred any
    of these citations to the grand jury. On November 16, 1960, the Department of
    Justice announced that it would proceed against the officials by information
      21 ( . . . continued)
    the C ourt, in the exercise o f its discretion, concludes that the public interest in disclosure is outw eighed by the
    private prejudice to the persons involved, none o f whom are charged with any crime in the proposed
    indictm ent." 315 F Supp. at 678-79. Under this analysis, if the contem pt citation were to reach a grand ju ry
    and the grand jury w ere to vote a true bill, a court m ight be able to require the United States Attorney to
    prepare an indictm ent and then might order the disclosure of that indictm ent as voted by the grand jury. For
    the reasons set out in o u r discussion o f prosecutorial discretion, the court could not, how ever, order the
    United States Attorney to prosecute.
      Because the contem pt o f C ongress statute does not require the U nited States Attorney to refer to a grand
    jury a citation for contem pt o f Congress issued to an executive official who has asserted the President’s claim
    of executive privilege, w e have not attem pted to determ ine definitively what additional steps, if any, the
    United States A ttorney could be required to take if such a m atter were referred to a grand jury.
      22 See 106 Cong. Rec. 17313 (1960) (citation against Austin J. Tobin, Executive Director o f the A uthority);
    id. at 17316 (citation against S. Sloan Colt, Chairm an o f the Board); id. at 17319 (citation against Joseph G.
    Carty, Secretary). The contem pt resolution in each case read as follows:
                R esolved, T hat the Speaker o f the House o f Representatives certify the report o f the Com m ittee
            on the Judiciary as to the contum acious conduct o f [name] in failing and refusing to furnish
            certain docum ents in com pliance with a subpena duces tecum o f a duly constituted subcomm ittee
            o f said com m ittee served upon him and as ordered by the subcom m ittee, together w ith all o f the
            facts in connection therew ith, under seal o f the House o f R epresentatives, to the U nited States
            attorney for the D istrict o f C olum bia, to the end that [name] may be proceeded against in the
            m anner and form provided by law.

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        rather than indictment, and therefore would not present the citations to a grand
        jury. See N.Y. Times, Nov. 17, 1960, at 1. On November 25, 1960, the
        Department announced that it would file an information against only one of the
        Port Authority officials, Executive Director Austin Tobin, and would not
        prosecute the remaining two officials. See N.Y. Times, Nov. 26,1960, at 1. The
        trial began in January 1961 and continued under the supervision of the new
        Attorney General, Robert F. Kennedy, who never altered the decision not to
        prosecute the two remaining officials, in spite of a congressional request to do
        so. Ultimately Tobin’s conviction was reversed by the United States Court of
        Appeals for the District of Columbia Circuit. Tobin v. United States, 306 F.2d
        270 (D.C. Cir.), cert, denied, 371 U.S. 902 (1962).23
           In the foregoing instance, the Department (under two administrations) exer-
        cised its prosecutorial discretion not to refer contempt of Congress citations to
        a grand jury, notwithstanding the seemingly mandatory phrasing of the stat-
        ute.24 For the reasons set forth more fully below, we continue to adhere to the
        conclusion that the Department retains prosecutorial discretion not to refer
        contempt citations to a grand jury.
           2. Judicial Opinions Interpreting the Language of § 194
           Section 194 imposes similarly worded, nominally mandatory, referral obli-
        gations on both the Speaker of the House (or the President of the Senate) and
        the United States Attorney once a contempt of Congress resolution has been
        adopted by the House or Senate:
                  it shall be the duty o f the said President of the Senate or the
                  Speaker of the House as the case may be, to certify, and he shall
                  so certify, the statement of facts aforesaid under the seal of the
                  Senate or House, as the case may be, to the appropriate United
                  States attorney, whose duty it shall be to bring the matter before
                  the grand jury for its action.
       (Emphasis added.)
          Although the language, “it shall be the duty o f ’ and “whose duty it shall be,”
       might suggest a nondiscretionary obligation, the United States Court of Ap-
       peals for the District of Columbia Circuit has expressly held, at least with
       respect to the Speaker of the House, that the duty is not mandatory, and that, in
       fact, the Speaker has an obligation under the law, at least in some cases, to
       exercise his discretion in determining whether to refer a contempt citation.
       Wilson v. United States, 369 F.2d 198 (D.C. Cir. 1966). In Wilson, the court
       reversed a conviction for contempt of Congress on the ground that the Speaker
       had assumed that the statute did not permit any exercise of discretion by him
          23 T he C ourt o f A ppeals ruled lhat the docum ents requested by the C om m ittee w ent beyond the investiga-
       tive authority delegated to the Committee by the House.
          24 W e know o f at least tw o other individuals who w ere cited for contem pt of C ongress, but w hose cases
       w ere not referred to a grand ju ry by the D epartm ent o f Justice. See D epartm ent o f Justice File No. 5 1 -5 1 -4 8 4
       (1956). The file was closed because th e D epartm ent concluded that there was an insufficient basis for
       prosecution.

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   and he had therefore automatically referred a contempt citation to the United
   States Attorney while Congress was not in session. The court based its conclu-
   sion that the Speaker was required to exercise his discretion on the longstanding
   practice of both the House and Senate and on congressional debates on con-
   tempt citations in which the houses had recognized their own discretion not to
   approve a contempt resolution. The court concluded that because full House
   approval of a contempt citation is necessary when Congress was in session, the
   Speaker is required to exercise some discretion when the House is not in
   session. 369 F.2d at 203-04.
      Although the reasons underlying the court’s decision not to impose a manda-
   tory duty on the Speaker in Wilson do not necessarily require the same conclu-
   sion with respect to the United States Attorney, the decision at least supports
   the proposition that the seemingly mandatory language of § 194 need not be
   construed as divesting either the Speaker or the United States Attorney of all
   discretion.25
      In several cases, the United States Court of Appeals for the District of
   Columbia Circuit has at least assumed that the United States Attorney retains
   discretion not to refer a contempt of Congress citation to a grand jury. In these
   cases, the court refused to entertain challenges to congressional subpoenas, at
   least in part on the ground that the prospective witnesses woiild have adequate
   subsequent opportunities to challenge a committee’s contempt finding, includ-
   ing the opportunity to persuade the United States Attorney not to refer the case
   to a grand jury. For example, in Ansara v. Eastland, 442 F.2d 751 (D.C. Cir.
   1971), the court declined to entertain a suit to quash a congressional subpoena
   on the ground that it would be inappropriate, as a matter of the exercise of its
   equitable power, to interfere with an ongoing congressional process. The court
   stated that protections were available “within the legislative branch or else-
   where,” and then in a footnote indicated that these protections resided “perhaps
   in the Executive Branch which may decide not to present the matter to the
   grand ju ry (as occurred in the case of the officials of the New York Port
   Authority); or perhaps in the Grand Jury which may decide not to return a true
   bill.” 442 F.2d at 754 n.6 (emphasis added).26 See also Sanders v. McClellan,

      23 In this respect, we believe that Wilson im plicitly disapproved the dictum o f Ex parte Frankfeld, 32 F.
   Supp. 91S (D.D.C. 1940), in which the district court stated:
             It seems quite apparent that C ongress intended to leave no measure o f discretion to either the
          S peaker o f the H ouse o r the President of the Senate, under such circum stances, but m ade the
          certification o f facts to the d istn ct attorney a m andatory proceeding, and it left no discretion with
          the district attorney as to what he should do about it. He is required, under the language o f the
          statute, to subm it the facts to the grand jury.
   Id at 916. The Frankfeld court expressly linked the responsibilities of the Speaker and the U nited States
   Attorney Wilson ruled that the Speaker’s duty is discretionary, at least when the House is not in session.
   Therefore, since the Speaker’s duty is in pari materia with the duty o f the United States A ttorney, the law, at
   least in the D istrict o f C olum bia C ircuit, seems to be that both duties should be viewed as containing some
   elem ents o f discretion.
     26 Ansara v. Eastland was cited with approval three times by Judge Smith in United States v. House o f
   Representatives , 556 F. Supp. 150, 152-53 (D.D.C 1983). Thus, although the opinion m ade a passing
   reference to the m andatory nature o f referral. Judge Smith m ust have recognized that the U nited States
   A ttorney retained prosecutorial discretion.

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        463 F.2d 894 (D.C. Cir. 1972). In United States Servicemen’s Fund v. Eastland,
        488 F.2d 1252 (D.C. Cir. 1973), rev’d o n other grounds, 421 U.S. 491 (1974),
        the court agreed to review a challenge to a congressional subpoena brought by
        a third party, and it distinguished Ansara and McClellan on the ground that,
        because the congressional subpoena was issued to a third party, the plaintiffs
        had no alternative means to vindicate their rights. 488 F.2d at 1260. Among the
        alternative means the court cited was the right to “seek to convince the
        executive (the attorney general’s representative) not to prosecute.” Id.
           These cases emphasize the particular significance of prosecutorial discretion
        in the context of the contempt of Congress statute. In general, with respect to
        any criminal allegation, prosecutorial discretion plays an important role in
        protecting the rights of the accused by providing an additional level of review
        with respect to the factual and legal sufficiency of the charges. This role is even
        more important when dealing with the contempt of Congress statute because,
        as the above cases demonstrate, witnesses generally have no opportunity to
        challenge congressional subpoenas directly. Thus, as the cases indicate,
        prosecutorial discretion serves a vital purpose in protecting the rights of the
        accused in contempt cases by mitigating the otherwise stem consequences of
        asserting a right not to respond to a congressional subpoena.
           Thus, the practice of the Congress and the available judicial authority
        support the proposition that the seemingly mandatory duties imposed on con-
        gressional officials by 2 U.S.C. § 194 are and were intended to be discretion-
        ary. The practice of the Executive Branch and the court decisions reflect a
        similarly discretionary role under the statute for the United States Attorney.
        Because, as the balance of this memorandum reveals, these interpretations are
        consistent with other common-law principles and avoid conclusions that would
        be at odds with the separation of powers, we believe that a correct reading of 2
        U.S.C. § 194 requires recognition of the prosecutor’s discretion with respect to
        referral to a grand jury.

          3. Common-Law Prosecutorial Discretion

           In addition to the court decisions that suggest that the United States Attorney
        may decide not to refer a contempt citation to a grand jury, the common-law
        doctrine of prosecutorial discretion weighs heavily against and, in our opinion,
        precludes an interpretation that the statute requires automatic referral. Because
        of the wide scope of a prosecutor’s discretion in determining which cases to
        bring, courts, as a matter of law, do not ordinarily interpret a statute to limit that
        discretion unless the intent to do so is clearly and unequivocally stated. The
        general rule is that “the Executive Branch has exclusive authority and absolute
        discretion to decide whether to prosecute a case.” United States v. Nixon, 418
        U.S. 683, 693 (1974). See also Confiscation Cases, 74 U.S. (7 Wall.) 454
        (1869). The Attorney General and his subordinates, including the United States
        Attorneys, have the authority to exercise this discretion reserved to the Execu-
        tive. United States v. San Jacinto Tin Co., 125 U.S. 273 (1888); The Gray
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     Jacket, 72 U.S. (5 Wall.) 370 (1866). In general, courts have agreed with the
     view of Judge (now Chief Justice) Burger:
            Few subjects are less adapted to judicial review than the exer-
            cise by the Executive of his discretion in deciding when and
            whether to institute criminal proceedings, or what precise charge
            shall be made, or whether to dismiss a proceeding once brought.
    Newman v. United States, 382 F.2d 479,480 (D.C. Cir. 1967). See also United
    States v. Batchelder, 442 U.S. 114 (1979); Bordenkircher v. Hayes, 434 U.S.
    357 (1978).
       Courts have applied this general principle of prosecutorial discretion in
    refusing to interfere with a prosecutor’s decision not to initiate a case, despite
    the specific language of 28 U.S.C. § 547, which states in part that “each United
    States Attorney, within his district, sh a ll. . . prosecute fo r all offenses against
    the United States.” (Emphasis added.) For example, in Powell v. Katzenbach,
    359 F.2d 234 (D.C. Cir. 1965), cert, denied, 384 U.S. 906 (1966), the court
    denied a mandamus petition that sought to force the Attorney General to
    prosecute a national bank. The court ruled: “It is well settled that the question
    of whether and when prosecution is to be instituted is within the discretion of
    the Attorney General. Mandamus will not lie to control the exercise of this
    discretion.” Id. at 234. See also United States v. Brown, 481 F.2d 1035 (8th Cir.
     1973); Bass Anglers Sportsman’s Society v. Scholze Tannery, Inc., 329 F.
    Supp. 339 (E.D. Tenn. 1971); Pugach v. Klein, 193 F. Supp. 630 (S.D.N.Y.
     1961); United States v. Brokaw, 60 F. Supp. 100 (S.D. 111. 1945).
       Courts exhibit the same deference to prosecutorial discretion even when the
    specific statute involved uses words that would otherwise have mandatory,
    nondiscretionary implications. For example, 42 U.S.C. § 1987 states that United
    States Attorneys are “authorized and required . . . to initiate prosecutions
    against all persons violating any of the provisions of [the federal criminal civil
    rights statutes].” (Emphasis added.) Although a number of cases have been
    initiated to force a United States Attorney to bring civil rights actions on the
    ground that this statute imposes a nondiscretionary duty to prosecute, see Note,
    Discretion to Prosecute Federal Civil Rights Crimes, 74 Yale L.J. 1297 (1965),
    the courts uniformly have rejected the contention that the statute limits a
    prosecutor’s normal discretion to decide not to bring a particular case. For
    example, in Inmates o f Attica Correctional Facility v. Rockefeller, A l l F.2d
    375 (2d Cir. 1973), the court ruled that the “mandatory nature of the word
    ‘required’ as it appears in § 1987 is insufficient to evince a broad Congres-
    sional purpose to bar the exercise of executive discretion in the prosecution of
    federal civil rights crimes.” 477 F.2d at 381. The court noted that although
    similar mandatory language was contained in other statutes, “[s]uch language
    has never been thought to preclude the exercise of prosecutorial discretion.” Id.
    Accord Peek v. Mitchell, 419 F.2d 575 (6th Cir. 1970); Moses v. Kennedy, 219
    F. Supp. 762 (D.D.C. 1963), a f f d sub nom. Moses v. Katzenbach, 342 F.2d 931
    (D.C. Cir. 1965). The language employed in 2 U.S.C. § 194 is neither stronger
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       nor more clearly mandatory than the language of § 1987, which the courts have
       decided is insufficient to limit the normal prosecutorial discretion.
          In fact, there is nothing to distinguish the contempt of Congress statute from
       any other statute where the prosecutor retains discretion with respect to who
       shall be prosecuted. Since the early part of the 19th century, it has been
       recognized that offenses against Congress that are punishable by Congress
       through its inherent contempt power may also be violations of the criminal
       laws and, as such, offenses against the United States, with respect to which the
       normal rules governing criminal prosecutions apply. See 2 Op. Att’y Gen. 655
       (1834) (concluding that an assault against a congressman could be prosecuted
       consistent with the Double Jeopardy Clause under the criminal laws, even if the
       defendant had already been punished by Congress, because the act created two
       separate offenses, one against Congress and one against the United States).
       This principle was adopted by the Supreme Court when it upheld the constitu-
       tionality of the contempt of Congress statute. In re Chapman, 166 U.S. 661
       (1897). In Chapman, the Court held that the contempt statute did not violate the
       Double Jeopardy Clause even though a defendant could be punished through
       Congress’ inherent contempt power as well as under the contempt statute. The
       Court concluded that a refusal to testify involved two separate offenses, one
       against Congress and one against the United States, and that
              it is quite clear that the contumacious witness is not subjected to
              jeopardy twice for the same offence, since the same act may be
              an offence against one jurisdiction and also an offence against
              another; and indictable statutory offenses may be punished as
              such, while the offenders may likewise be subjected to punish-
              ment for the same acts as contempts, the two being diverso
              intuitu and capable of standing together.
       166 U.S. at 672.
         The import of the Court’s conclusion in this context is clear. Congress’
       inherent contempt power is the remedy for the offense against Congress, and
       that remedy remains within Congress’ control. The crime of contempt of
       Congress, like any other federal statutory crime, is an offense against the
       United States that should be prosecuted as is any other crime. This criminal
       offense against the United States properly remains subject to the prosecutorial
       control of the Executive Branch. Therefore, because the contempt statute
       should be treated as are other federal criminal statutes, we do not believe that
       §194 should be read to limit the common law prosecutorial discretion of the
       United States Attorney. There is nothing in the legislative history of the
       contempt of Congress statute that is inconsistent with this conclusion. See 42
       Cong. Globe, 34th Cong., 3d Sess. 4030-44 (1857).

         4. Constitutional Considerations

          Our construction of § 194 is reinforced by the need to avoid the constitu-
       tional problems that would result if § 194 were read to require referral to a
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     grand jury. As discussed above, the constitutionally prescribed separation of
     powers requires that the Executive retain discretion with respect to whom it
     will prosecute for violations of the law. Although most cases expressly avoid
     this constitutional question by construing statutes not to limit prosecutorial
     discretion, the cases that do discuss the subject make it clear that common law
     prosecutorial discretion is strongly reinforced by the constitutional separation
     of powers. See, e.g.. Inmates o f Attica Correctional Facility v. Rockefeller, A l l
     F.2d 375 (2d Cir. 1973); Powell v. Katzenbach, 359 F.2d 234 (D.C. Cir. 1965),
     cert, denied, 384 U.S. 906 (1966).
        A number of courts have expressly relied upon the constitutional separation
     of powers in refusing to force a United States Attorney to proceed with a
     prosecution. For example, in Pugach v. Klein, 193 F. Supp. 630 (S.D.N.Y.
     1961), the court declined to order the United States Attorney to commence a
     prosecution for violation of federal wiretap laws on the ground that it was
               clear beyond question that it is not the business of the Courts to
               tell the United States Attorney to perform what they conceive to
               be his duties.
               Article II, § 3 of the Constitution, provides that “[the President]
               shall take Care that the Laws [shall] be faithfully executed.” The
               prerogative of enforcing the criminal law was vested by the
               Constitution, therefore, not in the Courts, nor in private citizens,
               but squarely in the executive arm of the government.
     193 F. Supp. at 634. See also Goldberg v. Hoffman, 225 F.2d 463, 464-65 (7th
     Cir. 1955).27
        The Fifth Circuit, sitting en banc, has underscored the constitutional founda-
     tions of prosecutorial discretion. United States v. Cox, 342 F.2d 167 (5th Cir.)
     (en banc), cert, denied, 381 U.S. 935 (1965). In Cox, the court overturned a
     district court’s order that a United States Attorney prepare and sign an indict-
     ment that a grand jury had voted to return. The plurality opinion stated:
                  The executive power is vested in the President of the United
               States, who is required to take care that the laws be faithfully
               executed. The Attorney General is the hand of the President in
               taking care that the laws of the United States in legal proceed-

        27 These conclusions are not inconsistent w ith Rule 48(a) of the Federal Rules o f Criminal Procedure, which
     requires leave o f court before dism issal o f a crim inal action. This provision is intended prim arily to protect
     defendants against repeated prosecutions fo r the sam e offense, and a co u rt's pow er to deny leave under this
     provision is extrem ely lim ited. See Rinaldi v. United States , 434 U.S. 22 (1977); United States v. Hamm, 659
     F.2d 624 (5th Cir. 1981); United States v. Ammidown, 497 F.2d 615 (D.C. Cir. 1973). The U nited States Court
     o f A ppeals for the Fifth C ircuit has stated that the constitutionality o f Rule 48(a) is dependent upon the
     prosecutor’s unfettered ability to decide not to com m ence a case in the first place. United States v. Cox, 342
     F.2d 167 (5th C ir.) (en banc), cert, denied, 381 U.S. 935 (1965). M oreover, Judge W einfeld has stated that
     even if a court denied leave to dism iss an indictm ent, a court “in that circum stance would be w ithout pow er to
     issue a m andamus o r other order to com pel prosecution o f the indictm ent, since such a direction w ould invade
     the traditional separation o f powers doctrine.” United States v. Greater Blouse, Skirt & Neckwear Contrac-
     tors A ss’n, 228 F. Supp. 483 (S.D.N.Y. 1964).

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              ings and in the prosecution of offenses, be faithfully executed.
              The role of the grand jury is restricted to a finding as to whether
              or not there is probable cause to believe that an offense has been
              committed. The discretionary power of the attorney for the
              United States in determining whether a prosecution shall be
              commenced or maintained may well depend upon matters of
              policy wholly apart from any question of probable cause. Al-
              though as a member of the bar, the attorney for the United States
              is an officer of the court, he is nevertheless an executive official
              of the Government, and it is as an officer of the executive
              department that he exercises a discretion as to whether or not
              there shall be a prosecution in a particular case. It follows, as an
              incident of the constitutional separation of powers, that courts
              are not to interfere with the free exercise of the discretionary
              powers of the attorneys of the United States in their control over
              criminal prosecutions.

       342 F.2d at 171 (footnotes omitted). See also id. at 182-83 (Brown, J. concur-
       ring); id. at 190-93 (Wisdom, J., concurring). Even the three dissenting judges
       in Cox conceded that, although they believed that the United States Attorney
       could be required to sign the indictment, “once the indictment is returned, the
       Attorney General or the United States Attorney can refuse to go forward.” Id. at
       179. See United States v. Nixon, 418 U.S. 683, 693 (1974) (“the Executive
       Branch has exclusive authority and absolute discretion to decide whether to
       prosecute a case”) (citing, inter alia, Cox).
          Although prosecutorial discretion may be regulated to a certain extent by
       Congress and in some instances by the Constitution, the decision not to pros-
       ecute an individual may not be controlled because it is fundamental to the
       Executive’s prerogative. For example, the individual prosecutorial decision is
       distinguishable from instances in which courts have reviewed the legality of
       general Executive Branch policies. See Nader v. Saxbe, 497 F.2d 676 (D.C.
       Cir. 1974); Adams v. Richardson, 480 F.2d 1159 (D.C. Cir. 1973) (en banc)
       (per curiam); NAACP v. Levi, 418 F. Supp. 1109 (D.D.C. 1976). In these cases
       the courts accepted jurisdiction to rule whether an entire enforcement program
       was being implemented based on an improper reading of the law. The cases
       expressly recognize, however, both that a decision to prosecute in an individual
       case involves many factors other than merely probable cause, and that “the
       balancing of these permissible factors in individual cases is an executive, rather
       than a judicial function which follows from the need to keep the courts as
       neutral arbiters in the criminal law generally . . . and from Art. II, § 3 of the
       Constitution, which charges the President to ‘take Care that the Laws be
       faithfully executed.’” Nader v. Saxbe, 497 F.2d at 679 n.18. Similarly distin-
       guishable are the cases concerning the constitutional limits on selective pros-
       ecution, which hold that prosecutorial discretion may not be exercised on the
       basis of impermissible factors such as race, religion, or the exercise of free
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    speech. See, e.g., Marshall v. Jerrico, Inc., 446 U.S. 238, 249 (1980); Oyler v.
    Boles, 368 U.S. 448 (1962).
        If the congressional contempt statute were interpreted to divest the United
     States Attorney of discretion, then the statute would create two distinct prob-
     lems with respect to the separation of powers. “The doctrine of separated
     powers is implemented by a number of constitutional provisions, some of
     which entrust certain jobs exclusively to certain branches while others say that
     a given task is not to be performed by a given branch.” United States v. Brown,
     381 U.S. 437, 443 (1965). Divesting the United States Attorney of discretion
     would run afoul of both aspects of the separation of powers by stripping the
    Executive of its proper constitutional authority and by vesting improper power
    in Congress.
        First, as the cases cited above demonstrate, Congress may not deprive the
    Executive of its prosecutorial discretion. In areas where the President has
    specific executive authority, Congress may establish standards for the exercise
    of that authority, but it may not remove all Presidential authority. For example,
    Congress may require the President to make appointments to certain executive
    positions and may define the qualifications for those positions, but it may not
    select the particular individuals whom the President must appoint to those
    positions. See Buckley v. Valeo, 424 U.S. 1 (1976). Similarly, Congress may
    adopt the criminal provisions for which individuals may be prosecuted and
    impose certain qualifications on how the Executive should select individuals for
    prosecution, but it may not identify the particular individuals who must be pros-
    ecuted. The courts have declared that the ultimate decision with respect to prosecu-
    tion of individuals must remain an executive function under the Constitution.
       Second, if Congress could specify an individual to be prosecuted, it would be
    exercising powers that the Framers intended not be vested in the legislature. A
    legislative effort to require prosecution of a specific individual has many of the
    attributes of a bill of attainder and would seem to be inconsistent with many of
    the policies upon which the Constitution’s prohibition against bills of attainder
    was based. See United States v. Brown, 381 U.S. 437 (1965); United States v.
    Lovett, 328 U.S. 303 (1946). The constitutional role of Congress is to adopt
    general legislation that will be applied and implemented by the Executive
    Branch. “It is the peculiar province of the legislature to prescribe general rules
    for the government of society; the application of those rules to individuals in
    society would seem to be the duty of other departments.” Fletcher v. Peck, 10
    U.S. (6 Cranch) 87, 136 (1810); see United States v. Brown, 381 U.S. 437,446
    (1965). The Framers intended that Congress not be involved in such prosecutorial
    decisions or in questions regarding the criminal liability of specific individuals.
    As the Supreme Court stated in Lovett:

              Those who wrote our Constitution well knew the danger
           inherent in special legislative acts which take away the life,
           liberty, or property of particular named persons, because the legisla-
           ture thinks them guilty of conduct which deserves punishment.
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       328 U.S. at 317. Justice Powell has echoed this concern: “The Framers were
       well acquainted with the danger of subjecting the determination of the rights of
       one person to the ‘tyranny o f shifting majorities.’” INS v. Chadha, 462 U.S.
       917, 961 (1983) (Powell, J. concurring). As we have shown above, courts may
       not require prosecution of specific individuals, even though the Judicial Branch
       is expressly assigned the role of adjudicating individual guilt. A fortiori, the
       Legislative Branch, which is assigned the role of passing laws of general
       applicability and specifically excluded from questions of individual guilt or
       innocence, may not decide on an individual basis who will be prosecuted.
          These constitutional principles of prosecutorial discretion apply even though
       the issue here is referral to the grand jury and not commencement of a criminal
       case after indictment. A referral to a grand jury commences the criminal
       prosecution process. That step is as much a part of the function of executing the
       laws as is the decision to sign an indictment. The cases expressly recognize that
       prosecutorial discretion applies at any stage of the investigative process, even
       to the decision whether to begin an investigation at all. See Inmates o f Attica
       Correctional Facility v. Rockefeller, 477 F.2d 375 (2d Cir. 1973); Smith v.
       United States, 375 F.2d 243, 248 (5th Cir.), cert, denied, 389 U.S. 841 (1967).
       In the latter case, the court emphasized that prosecutorial discretion was
       protected “no matter whether these decisions are made during the investigation
       or prosecution of offenses.” 375 F.2d at 248. Moreover, if the Executive has
       already determined that, as a matter of law, no violation of the law has
       occurred, it would serve no practical purpose to refer a case to the grand jury.
       Given the importance of these constitutional principles and the fundamental
       need to preserve the Executive’s power to enforce the laws, we see no reason
       for distinguishing between the decision to prosecute and the decision to refer to
       the grand jury in this case.28
          For all of the above reasons, as a matter of statutory construction strongly
       reinforced by constitutional separation of powers principles, we believe that
       the United States Attorney and the Attorney General, to whom the United
       States Attorney is responsible, retain their discretion not to refer a contempt of
       Congress citation to a grand jury. It follows, of course, that we believe that
       even if the provision of a statute requiring reference to a grand jury were to be
       upheld, the balance of the prosecutorial process could not be mandated.
          28 A statute giving one house of C ongress the pow er to direct an Executive Branch official to take any
       p articular action also raises a separate issu e under the Suprem e C ourt’s decision in INS v. Chadha, 462 U.S.
       917 (1983). U nder the current contempt statute, the role o f the House o r Senate in sim ply referring a m atter to
       the U nited States A ttorney for possible prosecution raises no substantial issue under Chadha because the
       H ouse o r S enate is acting, in a sense, as a private citizen w ould — by reporting a possible violation o f federal
       crim inal law . Thus, Chadha's proscription o f actions by one house (or two houses or a congressional
       com m ittee) that are designed to have “th e purpose and effe c t o f altering the legal rights, duties, and relations
       o f persons . . . outside the Legislative B ranch” would be inapplicable. Id at 952. If the contem pt statute
       precluded prosecutorial discretion, how ever, one house w ould be em pow ered to im pose on the U nited States
       A ttorney an affirm ative legal duty to in itia te a prosecution and to take certain steps in that prosecution. To
       em pow er one house o f Congress in th a t m anner would appear to be contrary to the clear language and
       rationale o f Chadha. This is not, of co u rse, to say that C ongress’ attem pt to impose such an obligation on the
       U nited States A ttorney by plenary legislation in a specific case w ould be constitutional; it is to say that a
       permanent mechanism to be triggered by the vote of one house raises a significant additional constitutional concern.

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     B. Whether the Criminal Contempt o f Congress Statute Applies to an
        Executive Official Who Asserts, On Direct Orders o f the President,
        the President’s Claim o f Executive Privilege

        We next consider, aside from the issue of prosecutorial discretion, whether
     the criminal contempt of Congress statute is intended to apply, or constitution-
     ally could be applied, to Presidential claims of executive privilege.

        1. Previous Department of Justice Interpretations of the Contempt of
           Congress Statute

        The Department of Justice has previously taken the position that the criminal
     contempt of Congress statute does not apply to executive officials who assert
     claims of executive privilege at the direction of the President. In 1956, Deputy
     Attorney General (subsequently Attorney General) William P. Rogers took this
     position before a congressional subcommittee investigating the availability of
     information from federal departments and agencies. In a lengthy memorandum
     of law, Deputy Attorney General Rogers set forth the historical basis of
     executive privilege and concluded that in the context of Presidential assertions
     of the privilege, the contempt of Congress statute was “inapplicable to the
     executive departments.” See Hearings Before a Subcommittee o f the House
     Committee on Government Operations, 84th Cong., 2d Sess. 2933 (1956).29
     We are not aware of any subsequent Department position that reverses or
     weakens this conclusion, and we have found no earlier Department position to
     the contrary.
        We believe that the Department’s long-standing position that the contempt
     of Congress statute does not apply to executive officials who assert Presidential
     claims of executive privilege is sound, and we concur with it. Our conclusion is
     based upon the following factors: (1) the legislative history of the contempt of
     Congress statute demonstrates that it was not intended to apply to Presidential
     assertions of executive privilege; and (2) if the statute were construed to apply
     to Presidential assertions of executive privilege, it would so inhibit the President’s
     ability to make such claims as to violate the separation of powers.

        2. The Legislative History of the Contempt of Congress Statute

        Neither the legislative history nor the historical implementation of the con-
     tempt statute supports the proposition that Congress intended the statute to
     apply to executive officials who carry out a Presidential assertion of executive
     privilege. The criminal contempt statute was originally enacted in 1857 during
     proceedings in the House of Representatives to consider a contempt of Con-
     gress citation against a New York Times correspondent who had refused to
       29 The m emorandum cited, inter alia, a 1909 Senate debate over the issue of executive privilege in which
     Senator D olliver questioned “where Congress gets authority either out o f the C onstitution or the laws o f the
     United States to order an executive departm ent about like a servant.” 43 Cong. Rec. 3732 (1909) O ther
     historical exam ples cited by the report are discussed below.

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        answer questions put to him by a select committee appointed by the House to
        investigate charges of bribery of certain Representatives. As a result of the
        committee’s unavailing efforts to obtain the reporter’s testimony, the commit-
        tee chairman introduced a bill designed “more effectually to enforce the
        attendance of witnesses on the summons of either House of Congress, and to
        compel them to deliver testimony.” 42 Cong. Globe 404 (1857). The bill was
        supported as a necessary tool in the House’s efforts to investigate the allega-
        tions of bribery. See id. at 405 (remarks of the Speaker), 426 (remarks of Sen.
        Toombs), 421 (remarks of Rep. Davis), 445 (remarks of Sen. Brown). The bill
        was rushed through Congress in less than a week in order to permit the House
        to bring greater pressure on the reporter to reveal the alleged source of the
       congressional corruption. That the bill was sponsored by the select committee,
       and not the Judiciary Committee, further demonstrates that the bill was not the
       result of a general consideration of Congress’ contempt power, but was enacted
       as an expedient to aid a specific investigation. Thus, the circumstances of the
       bill’s passage certainly do not affirmatively suggest that Congress anticipated
       application of the statute to instances in which the President asserted a claim of
       executive privilege.
           In fact, the sponsor of the bill disclaimed any such far-reaching implications.
       Representative Dunn asked the sponsor, Representative Orr, what impact the
       proposed bill would have on diplomatic secrets, one of the principal areas in
       which the President had historically asserted a privilege of confidentiality.
       Representative Dunn stated that use of the contempt statute by Congress to
       force disclosure of such material “might be productive of great mischief, and in
       time of war of absolute ruin o f the country.” 42 Cong. Globe 431 (remarks of
       Rep. Dunn). Representative Orr replied, “I can hardly conceive such a case”
       and emphasized that the bill should not be attacked “by putting instances of the
       extremest cases” because the “object which this committee had in view was,
       where there was corruption in either House of Congress, to reach it.” Id. at 431
       (remarks of Rep. Orr). The implication is that Congress did not intend the bill
       to apply to Presidential assertions of privilege.30

           30 The legislative history contains one reference to the application o f the statute against executive officials.
       D uring the flo o r debates, Representative M arshall attacked the bill by claim ing that it “proposes to punish
       equally the C abinet o fficer and the culprit who may have insulted the dignity o f this House by an attem pt to
       co rru p t a R epresentative o f the people.” 4 2 Cong. G lobe at 429. This statem ent does not, how ever, suggest
       th at the statute w as intended to apply to Presidential assertions of executive privilege. Indeed, virtually all
       previous assertions o f executive privilege against C ongress had been made by the President himself, and
       C ongress expressed no intent to utilize the crim inal contem pt provisions against the President. Representative
       M arsh all’s statem ent, therefore, simply le n d s support to the proposition, with which we agree, that there are
       c ertain circum stances in w hich the congressional contem pt statute m ight be utilized against an executive
       official, such as instances in which an executive official, acting on his own, engaged in disruptive and
       contum acious conduct d u ring a congressional hearing, o r in which an executive official, acting on his own,
       com m itted an offense. See Marshall v. Gordon, 243 U.S. 521 (1917). As the rem ainder o f Representative
       M arsh all’s rem arks dem onstrate, the principal force driving the bill was C ongress’ desire to obtain an
       expeditious m ethod fo r investigating questions regarding the integrity o f Congress and not to provide
       C ongress w ith a statute requiring the P resident to prosecute crim inally those who had asserted the P resident’s
       c o n stitu tio n ally based claim o f executive privilege. W e have found no evidence in the legislative history that
       supports an intention to apply the proposed statute in such a context.

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       In the years preceding the adoption of the statute, the President had, on a
    number of occasions, withheld documents from Congress under a claim of
    executive privilege, arid many of these instances had been hotly contested in
    the public arena, and at least five of these instances occurred within the decade
    immediately preceding the enactment of the congressional contempt statute.
    See supra note 19 (collecting authorities). In spite of these highly visible
    battles over the subject of executive privilege, we have located no indication in
    the legislative history of the criminal contempt statute that Congress intended
    the statute to provide a remedy for refusals to produce documents pursuant to a
    Presidential claim of executive privilege.
       The natural inference to be drawn from this vacuum in the legislative history
    is reinforced by Congress’ failure, as far as we know, ever to utilize its inherent
    power of arrest to imprison Executive Branch officials for contempt of Con-
    gress for asserting claims of executive privilege, even though Congress had
    previously asserted and exercised its clearly recognized right to do so with
    respect to other instances of contempt by private citizens. See Anderson v.
    Dunn, 19 U.S. (6 Wheat.) 204 (1821); Ex Parte Nugent, 18 F. Cas. 471
    (C.C.D.C. 1848). The absence of any congressional discussion of the use of the
    contempt power against Presidential claims of executive privilege and Con-
    gress’ previous failure ever to attempt to use its inherent contempt power in such
    cases, strongly suggest that the statute was not intended to apply to such assertions.
       This conclusion is supported by the subsequent history of the congressional
    contempt statute. Since enactment of the statute in 1857, there have been
    numerous instances in which the President has withheld documents from
    Congress under a claim of executive privilege. Despite the fact that many of
    these disputes were extraordinarily controversial, until the citation of the EPA
    Administrator in December 1982, 125 years after the contempt statute was
    enacted, neither house of Congress had ever voted to utilize the contempt
    statute against a Presidential assertion of executive privilege. In fact, during
    congressional debates over Presidential refusals to produce documents to Con-
    gress, there have been express acknowledgements by members of Congress
    that Congress had no recourse against the Executive if the President asserted
    executive privilege. In 1886, the Senate engaged in a prolonged debate over
    President Cleveland’s order to his Attorney General not to produce to Congress
    documents concerning the dismissal of a United States Attorney. The debate
    was intense, controversial, and memorable; 23 years after the debate a Senator
    termed it the “most remarkable discussion which was ever had upon this
    question [of the President’s right to withhold documents from Congress].” 43
    Cong. Rec. 841 (1909) (remarks of Sen. Bacon). During this debate, even
    Senators who insisted upon the Senate’s right to receive the documents recog-
    nized that if the President ordered them not to be produced, “there is no
    remedy.” 17 Cong. Rec. 2800 (1886) (remarks of Sen. Logan); see also id. at
    2737 (1886) (remarks of Sen. Voorhees).31
     31 The only remedy then recognized by the Senators was the ultim ate sanction o f im peachm ent. See 17
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           Congress’ failure to resort to the contempt statute during any of the multi-
        tude of robust conflicts over executive privilege during the previous century
        and one quarter and Congress’ own explicit recognition that it was without a
        remedy should the President order the withholding of documents, strongly
        suggest that Congress never understood the statute to apply to an executive
        official who asserted the President’s claim of executive privilege.32

           3. Prudential Reasons for Construing the Contempt Statute Not To Apply
              to Presidential Assertions of Privilege

           Courts traditionally construe statutes in order to avoid serious doubts about a
        statute’s constitutionality. Califano v. Yamasaki, 442 U.S. 682, 693 (1979);
        Crowell v. Benson, 285 U.S. 22, 62 (1932). As stated by the United States
        Court of Appeals for the District of Columbia Circuit, “when one interpretation
        of a statute would create a substantial doubt as to the statute’s constitutional
        validity, the courts will avoid that interpretation absent a ‘clear statement’ of
        contrary legislative intent.” United States v. Brown, 483 F.2d 1314,1317 (D.C.
        Cir. 1973) (quoting United States v. Thompson, 452 F.2d 1333,1337 (D.C. Cir.
         1971), cert, denied, 405 U.S. 998 (1972)).
           When a possible conflict with the President’s constitutional prerogatives is
        involved, the courts are even more careful to construe statutes to avoid a
        constitutional confrontation. A highly significant example may be found in the
        procedural history and holding of United States v. Nixon, 418 U.S. 683 (1974),
        in which the Court construed the limitation in 28 U.S.C. § 1291 (that appeals be
        taken only from “final” decisions of a district court) in order to permit the
        President to appeal an adverse ruling on his claim of executive privilege
        without having to place himself in contempt of court. Although the plain
        language of that statute seemed to preclude an appeal of a lower court’s

          31 ( . . . continued)
       C ong. Rec. 2737, 2800 (1886). As we n o te below, a m uch more effective and less controversial remedy is
       available — a civil suit to enforce the subpoena — w hich would perm it Congress to acquire the disputed
       records by ju d ic ia l order. See also Senate Select Committee on Presidential Campaign Practices v. Nixon ,
       498 F.2d 725 (D .C. C ir. 1974) (en banc).
          32 C o n g ress’ practices w ith respect to th e contempt statute and the absence o f any previous application o f
       the statute to an Executive Branch o fficial in these circum stances are highly probative o f the meaning and
       applicability o f the statute. In general, th e Supreme C ourt has exam ined historical practice to determ ine the
       scope o f C o n g ress’ pow ers. For exam ple, in determ ining the scope o f C ongress’ pow er to call and examine
       w itnesses, the C ourt looked to the historical experience w ith respect to investigations and concluded:
                 w hen [C ongress’] practice in the m a tte r is appraised according to the circum stances in which it
                 was begun and to those in which it has been continued, it falls nothing short of a practical
                construction, long continued, o f the constitutional provisions respecting their pow ers; and
                 therefore should be taken as fixing the meaning o f those provisions, if otherw ise doubtful.
       McGrain v. Daugherty , 273 U.S. 135, 174 (1927); see also Fairbank v. United States , 181 U.S. 283, 308
       (1901). M oreover, the C o u rt traditionally gives great w eight to a contem poraneous construction o f a statute
       by the agency charged with its execution. See Power Reactor Development Co. v. Electricians, 367 U.S. 396,408
       (1961); Unemployment Compensation Com m ’n v. Aragon, 329 U S. 143,153 (1946). In this instance, Congress is
       responsible for taking the first step in implementing the contem pt statute. Therefore, Congress’ previous interpreta-
       tions and past uses o f the statute are analogous to the contemporaneous construction o f the agency charged with
       im plementation o f the statute, and are o f significance in determining the meaning o f the statute.

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     interlocutory ruling on an evidentiary matter, the Court construed the statute to
     permit an immediate appeal, without going through the otherwise required
     contempt proceeding:
            The traditional contempt avenue to immediate appeal is pecu-
            liarly inappropriate due to the unique setting in which the ques-
            tion arises. To require a President of the United States to place
            himself in the posture of disobeying an order of a court merely
            to trigger the procedural mechanism of the ruling would be
            unseemly, and would present an unnecessary occasion for con-
            stitutional confrontation between two branches of the government.

     418 U.S. at 691-92.
        Congress itself has previously recognized the impropriety of resolving ex-
     ecutive privilege disputes in the context of criminal contempt proceedings.
     During the dispute over the Watergate tapes, Congress provided a civil en-
     forcement mechanism through which to test the President’s claim of executive
     privilege. Senator Ervin, the sponsor of the bill, noted in his explanatory
     statement to the Senate that the use of criminal contempt “may be inappropri-
     ate, unseemly, or nonefficacious where executive officers are involved.” 119
     Cong. Rec. 35715 (1973). In defending the civil enforcement procedure before
     the district court, Congress argued that in that case the contempt procedures
     would be “inappropriate methods for the presentation and resolution of the
     executive privilege issue,” and that a criminal proceeding would be “a mani-
     festly awkward vehicle for determining the serious constitutional question here
     presented.” Plaintiffs Memorandum of Points and Authorities in Support of
     Motion for Summary Judgment, Senate Select Committee on Presidential
     Campaign Activities v. Nixon , Civ. No. 1593-73, at 5 (D.D.C. Aug. 28, 1973).
        The United States Court of Appeals for the District of Columbia Circuit has
     stated on several occasions that criminal contempt proceedings are an inappro-
     priate means for resolving document disputes, especially when they involve
     another governmental entity. In Tobin v. United States, 306 F.2d 270 (D.C.
     Cir.), cert, denied, 371 U.S. 902 (1962), the court reversed a contempt of
     Congress conviction on the ground that the congressional subpoena had gone
     beyond the investigative authority delegated to the committee that issued the
     subpoena. After deciding this issue, however, the court felt “inclined to add a
     few words in conclusion” concerning the problems involved in a criminal
     contempt of Congress case against a public official. In dictum, the court noted
     that the “conflicting duality inherent in a request of this nature is not particu-
     larly conducive to the giving of any satisfactory answer, no matter what the
     answer should prove to be,” and it cited the “eloquent plea” of District Judge
     Youngdahl in the case below, which read in part:
             Especially where the contest is between different governmental
             units, the representative of one unit in conflict with another
             should not have to risk jail to vindicate his constituency’s rights.
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                   Moreover, to raise these issues in the context of a contempt case
                   is to force the courts to decide many questions that are not really
                   relevant to the underlying problem of accommodating the inter-
                   est of two sovereigns.
       306 F.2d at 276. See also United States v. Fort, 443 F.2d 670, 677-78 (D.C.
       Cir. 1970), cert, denied, 403 U.S. 932 (1971).
          The analysis contained in United States v. Nixon demonstrates that prin-
       ciples of the separation of powers compel the application of special rules when
       a Presidential claim of a constitutional privilege is in tension with the request of
       another branch for confidential Executive Branch records. In discussing the
       issue of executive privilege in that case in response to a judicial subpoena, the
       Court stressed that the President’s assertion of privilege was not to be treated as
       would a claim of a statutory or common law privilege by a private citizen. 418
       U.S. at 708, 715. The President’s constitutional role as head of one of three
       separate branches of government means that special care must be taken to
       construe statutes so as not to conflict with his ability to carry out his constitu-
       tional responsibilities. See, e.g., Myers v. United States, 272 U.S. 52 (1926)
       (upholding the President’s removal power against limitations Congress sought
       to impose). The same special attention is provided, of course, to the other two
       branches when they assert responsibilities or prerogatives peculiar to their
       constitutional duties. See, e.g., Gravel v. United States, 408 U.S. 606 (1972)
       (extending immunity of Speech and Debate Clause to congressional assis-
       tants); Pierson v. Ray, 386 U.S. 547 (1967) (granting absolute civil immunity
       for judges’ official actions).
          In this case, the congressional contempt statute must be interpreted in light
       of the specific constitutional problems that would be created if the statute were
       interpreted to reach an Executive Branch official such as the EPA Administra-
       tor in the context considered here.33 As explained more fully below, if execu-
       tive officials were subject to prosecution for criminal contempt whenever they
       carried out the President’s claim of executive privilege, it would significantly
       burden and immeasurably impair the President’s ability to fulfill his constitu-
       tional duties. Therefore, the separation of powers principles that underlie the
       doctrine of executive privilege also would preclude an application of the
       contempt of Congress statute to punish officials for aiding the President in
       asserting his constitutional privilege.34

          33 T h e sam e principle applies to protect th e constitutional functions o f th e other branches. The separation o f
       pow ers w ould sim ilarly seem to require th a t a statute that made it a crim e to disregard a statute passed by
       C ongress b e read not to apply to a judge w h o struck dow n a congressional enactm ent as unconstitutional.
          34 In addition to the encroachm ent on th e constitutionally required separation o f pow ers that prosecution o f
       an E xecutive B ranch official in this context would entail, there could be a serious due process problem if such
       an o fficial w ere subjected to criminal penalties for obeying an express Presidential order, an order which was
       accom panied by advice from the Attorney G eneral that com pliance w ith the Presidential directive was not
       o n ly c o n sisten t w ith the constitutional d u tie s o f the Executive B ranch, but also affirm atively necessary in
       o rd e r to aid the P resident in the perform ance o f his constitutional obligations to take care that the law was
       faithfully executed. See Cox v. Louisiana, 379 U.S. 559 (1965); Raley v. Ohio , 360 U.S. 423 (1959).
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         4. The Constitutional Implications of Application of the Contempt of Con-
            gress Statute to Executive Branch Officials Who Assert the President’s
            Claim of Privilege

         The Supreme Court has stated that, in determining whether a particular
      statute
                 disrupts the proper balance between the coordinate branches,
                 the proper inquiry focuses on the extent to which it prevents the
                 Executive Branch from accomplishing its constitutionally as-
                 signed functions. United States v. Nixon, 418 U.S. at 711-712.
                 Only where the potential for disruption is present must we then
                 determine whether that impact is justified by an overriding need
                 to promote objectives within the constitutional authority of
                 Congress.
      Nixon v. Administrator o f General Services, 433 U.S. 425,443 (1977). Thus, in
      analyzing this separation of powers issue, one must look first to the impact that
      application of the congressional contempt statute to Presidential assertions of
      executive privilege would have on the President’s ability to carry out his
      constitutionally assigned functions. Then, if there is a potential for disruption,
      it is necessary to determine whether Congress’ need to impose criminal con-
      tempt sanctions in executive privilege disputes is strong enough to outweigh
      the impact on the Executive’s constitutional role.
         In this instance, at stake is the President’s constitutional responsibility to
      enforce the laws of the United States and the necessarily included ability to
      protect the confidentiality of information vital to the performance of that task.
      As explained earlier in this memorandum, the authority to maintain the integ-
      rity of certain information within the Executive Branch has been considered by
      virtually every President to be essential to his capacity to fulfill the responsi-
      bilities assigned to him by the Constitution. Thus, as discussed above, and as
      the Supreme Court has recognized, the capacity to protect the confidentiality of
      some information is integral to the constitutional role of the President.
          For these reasons, the Supreme Court has ruled that the President’s assertion
      of executive privilege is presumptively valid and can be overcome only by a
      clear showing that another branch cannot responsibly, carry out its assigned
      constitutional function without the privileged information. United States v.
      Nixon, 418 U.S. at 708. In Nixon, the Court stated that “upon receiving a claim

        34 ( . . . continued)
        Furtherm ore, a person can be prosecuted under § 192 only for a “w illful" failure to produce docum ents in
      response to a congressional subpoena. See United States v. Murdock, 290 U.S. 3 8 9 ,3 9 7 -9 8 (1933); Townsend
      v. United States, 95 F.2d 352, 359 (D.C. C ir.), cert, denied , 303 U.S. 664 (1938). There is some doubt
      w hether obeying the P resid en t's direct order to assert his constitutional claim o f executive privilege w ould
      amount to a “w illful” violation o f the statute. M oreover, reliance on an explicit opinion o f the Attorney
      General may negate the required mens rea even in the case o f a statute without a w illfulness requirem ent. See
      M odel Penal C ode § 2.04(3)(b); United States v. Barker , 546 F.2d 940, 955 (D.C. Cir. 1976) (M ehrige J.,
      concurring).

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      of privilege from the Chief Executive, it became the further duty of the District
      Court to treat the subpoenaed material as presumptively privileged.” 418 U.S.
      at 713. The United States Court of Appeals for the District of Columbia Circuit
      has stated that this presumptive privilege initially protects documents “even
      from the limited intrusion represented by in camera examination of the conver-
      sations by a court.” Senate Select Committee on Presidential Campaign Activities v.
      Nixon, 498 F.2d 725,730 (D.C. Cir. 1974) (en banc). The court went on to note:
             So long as the presumption that the public interest favors confi-
             dentiality can be defeated only by a strong showing of need by
             another institution of government a showing that the responsi-
             bilities of that institution cannot responsibly be fulfilled without
             access to records of the President’s deliberations we believed in
             Nixon v. Sirica, and continue to believe, that the effective func-
             tioning of the presidential office will not be impaired.
      Id. at 730. In order to overcome the presumptively privileged nature of the
      documents, a congressional committee must show that “the subpoenaed evi-
      dence is demonstrably critical to the responsible fulfillment of the Committee’s
      functions.” Id. at 731 (emphasis added). Thus, the President’s assertion of
      executive privilege is far different from a private person’s individual assertion
      of privilege; it is entitled to special deference due to the critical connection
      between the privilege and the President’s ability to carry out his constitutional
      duties.
         Application of the criminal contempt statute to Presidential assertions of
      executive privilege would immeasurably burden the President’s ability to
      assert the privilege and to carry out his constitutional functions. If the statute
      were construed to apply to Presidential assertions of privilege, the President
      would be in the untenable position of having to place a subordinate at the risk
      of a criminal conviction and possible jail sentence in order for the President to
      exercise a responsibility that he found necessary to the performance of his
      constitutional duty. Even if the privilege were upheld, the executive official
      would be put to the risk and burden of a criminal trial in order to vindicate the
      President’s assertion of his constitutional privilege. As Judge Learned Hand
      stated with respect to the policy justifications for a prosecutor’s immunity from
      civil liability for official actions,
             to submit all officials, the innocent as well as the guilty, to the
             burden of a trial and to the inevitable danger of its outcome,
             would dampen the ardor of all but the most resolute, or the most
             irresponsible, in the unflinching discharge of their duties. Again
             and again the public interest calls for action which may turn out
             to be founded on a mistake, in the face of which an official may
             later find himself hard put to it to [sic] satisfy a jury of his good faith.
      Gregoire v. Biddle, 177 F.2d 579, 581 (2d Cir. 1949), cert, denied, 339 U.S.
      949 (1950). The Supreme Court has noted, with respect to the similar issue of
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     executive immunity from civil suits, that “among the most persuasive reasons
     supporting official immunity is the prospect that damages liability may render
     an official unduly cautious in the discharge of his official duties.” Nixon v.
     Fitzgerald , 457 U.S. 731, 752 n.32 (1982); see also Harlow v. Fitzgerald, 457
     U.S. 800 (1982); Butz v. Economou, 438 U.S. 478 (1978). Thus, the courts have
     recognized that the risk of civil liability places a pronounced burden on the
     ability of government officials to accomplish their assigned duties, and have
     restricted such liability in a variety of contexts. Id.35 The even greater threat of
     criminal liability, simply for obeying a Presidential command to assert the
     President’s constitutionally based and presumptively valid privilege against
     disclosures that would impair his ability to enforce the law, would unquestion-
     ably create a significant obstacle to the assertion of that privilege. See United
     States v. Nixon, 418 U.S. 683 (1974).
        By contrast, the congressional interest in applying the criminal contempt
     sanctions to a Presidential assertion of executive privilege is comparatively
     slight. Although Congress has a legitimate and powerful interest in obtaining
     any unprivileged documents necessary to assist it in its lawmaking function,
     Congress could obtain a judicial resolution of the underlying privilege claim
     and vindicate its asserted right to obtain any documents by a civil action for
     enforcement of a congressional subpoena.36 Congress’ use of civil enforcement
     power instead of the criminal contempt statute would not adversely affect
     Congress’ ultimate interest in obtaining the documents. Indeed, a conviction of
     an Executive Branch official for contempt of Congress for failing to produce
     subpoenaed documents would not result in any order for the production of the
     documents.37 A civil suit to enforce the subpoena would be aimed at the
     congressional objective of obtaining the documents, not at inflicting punish-
     ment on an individual who failed to produce them. Thus, even if criminal
     sanctions were not available against an executive official who asserted the
     President’s claim of privilege, Congress would be able to vindicate a legitimate
     desire to obtain documents if it could establish that its need for the records
     outweighed the Executive’s interest in preserving confidentiality.
        The most potent effect of the potential application of criminal sanctions
     would be to deter the President from asserting executive privilege and to make
     it difficult for him to enlist the aid of his subordinates in the process. Although

       35 See also Barr v. Matteo , 360 U.S. 564 (1959), Spalding v. Vilas, 161 U.S. 483 (1896) Som e officials,
     such as judges and prosecutors, have been given absolute immunity from civil suits arising out o f their
     official acts. Imbler v. Pachtman, 424 U.S. 409 (1976), Pierson v. Ray, 386 U.S. 547 (1967).
       36 It is arguable that C ongress already has the power to apply for such civil enforcem ent, since 28 U.S C.
     § 1331 has been am ended to elim inate the amount in controversy requirem ent, which was the only obstacle
     cited to foreclose jurisdiction under § 1331 in a previous civil enforcem ent action brought by the Senate. See
     Senate Select Committee on Presidential Campaign Activities v. Nixon, 366 F. Supp. 51 (D.D.C. 1973). In
     any event, there is little doubt that, at the very least, C ongress may authorize civil enforcem ent o f its
     subpoenas and grant jurisdiction to the courts to entertain such cases. See Senate Select Committee on
     Presidential Campaign Activities v. Nixon , 498 F.2d 725 (D.C Cir. 1974) (en banc); H am ilton and G rabow,
     A Legislative Proposal fo r Resolving Executive Privilege Disputes Precipitated by Congressional Subpoe-
     nas, 21 Harv. J on Legis. 145 (1984).
       37 See Ham ilton and G rabow , supra, 21 Harv J. on Legis. at 151.

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      this significant in terrorem effect would surely reduce claims of executive
      privilege and, from Congress’ perspective, would have the salutary impact of
      virtually eliminating the obstacles to the obtaining of records, it would be
      inconsistent with the constitutional principles that underlie executive privilege
      to impose a criminal prosecution and criminal penalties on the President’s
      exercise of a presumptively valid constitutional responsibility. The in terrorem
      effect may be adequate justification for Congress’ use of criminal contempt
      against private individuals, but it is an inappropriate basis in the context of the
      President’s exercise of his constitutional duties. In this respect it is important to
      recall the statement of Chief Justice Marshall, sitting as a trial judge in the Burr
      case, concerning the ability o f a court to demand documents from a President:
      “In no case of this kind would a court be required to proceed against the
      President as against an ordinary individual.” United States v. Burr , 25 F. Cas.
      187, 192 (C.C. Va. 1807).38 This fundamental principle, arising from the
      constitutionally prescribed separation of powers, precludes Congress’ use against
      the Executive of coercive measures that might be permissible with respect to
      private citizens. The Supreme Court has stated that the fundamental necessity
      of maintaining each of the three general departments of government entirely
      free from the control or coercive influence, direct or indirect, of either of the
      others, has often been stressed and is hardly open to serious question. So much
      is implied in the very fact of the separation of the powers of these departments
      by the Constitution; and in the rule which recognizes their essential equality.
      H um phrey’s Executor v. United States, 295 U.S. 602, 629-30 (1935).
         Congress’ use of the coercive power of criminal contempt to prevent Presi-
      dential assertions of executive privilege is especially inappropriate given the
      presumptive nature of the privilege. In cases involving congressional subpoe-
      nas against private individuals, courts start with the presumption that Congress
      has a right to all testimony that is within the scope of a proper legislative
      inquiry. See Barenblatt v. United States, 360 U.S. 109 (1959); McGrain v.
      Daugherty, 273 U.S. 135 (1927). As noted above, however, the President’s
      assertion of executive privilege is presumptively valid, and that presumption
      may be overcome only if Congress establishes that the requested information
      “is demonstrably critical to the responsible fulfillment of the Committee’s
      functions.” See Senate Select Committee on Presidential Campaign Activities
      v. Nixon, 498 F.2d at 731; see also United States v. Nixon, 418 U.S. at 708-09.
      If Congress could use the power of criminal contempt to coerce the President
      either not to assert or to abandon his right to assert executive privilege, this
      clearly established presumption would be reversed and the presumptive privi-
      lege nullified.
         Congress has many weapons at its disposal in the political arena, where it has
      clear constitutional authority to act and where the President has corresponding
      political weapons with which to do battle against Congress on equal terms. By
      wielding the cudgel of criminal contempt, however, Congress seeks to invoke
        38 The Nixon C ourt thought this statem ent significant enough in the context o f an executive privilege
      dispute to q u o te it in full at tw o separate p laces in its decision United States v. Nixon, 418 U.S. at 708, 715.

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    the power of the third branch, not to resolve a dispute between the Executive
    and Legislative Branches and to obtain the documents it claims it needs, but to
    punish the Executive, indeed to punish the official who carried out the President’s
    constitutionally authorized commands,39 for asserting a constitutional privi-
    lege. That effort is inconsistent with the “spirit of dynamic compromise” that
    requires accommodation of the interests of both branches in disputes over
    executive privilege. See United States v. American Telephone & Telegraph
    Co., 567 F.2d 121, 127 (D.C. Cir. 1977). In the AT&T case, the court insisted
    on further efforts by the two branches to reach a compromise arrangement on
    an executive privilege dispute and emphasized that
              the resolution of conflict between the coordinate branches in
              these situations must be regarded as an opportunity for a con-
              structive modus vivendi, which positively promotes the func-
              tioning of our system. The Constitution contemplates such ac-
              commodation. Negotiation between the two branches should
              thus be viewed as a dynamic process affirmatively furthering
              the constitutional scheme.
    Id. at 130. Congress’ use of the threat of criminal penalties against an executive
    official who asserts the President’s claim of executive privilege, flatly contra-
    dicts this fundamental principle.40
      The balancing required by the separation of powers demonstrates that the
    contempt of Congress statute cannot be constitutionally applied to an executive
    official in the context under consideration. On the one hand, Congress has no
      39 O ne scholar (form er A ssistant A ttorney G eneral for the Civil D ivision, and now Solicitor G eneral, Rex
    Lee) has noted that
           when the only alleged crim inal conduct o f the putative defendant consists o f obedience to an
           assertion o f executive privilege by the President from whom the defendant’s governm ental
           authority derives, the defendant is not really being prosecuted for conduct o f his own. He is a
           defendant only because his prosecution is one way o f bringing before the courts a dispute
           between the President and the Congress. It is neither necessary nor fair to make him the pawn in
           a crim inal prosecution in order to achieve judicial resolution o f an interbranch dispute, at least
           where there is an alternative means for vindicating congressional investigative interests and for
           getting the legal issues into court.
    Lee, Executive Privilege, Congressional Subpoena Power, and Judicial Review: Three Branches, Three
    Powers, and Some Relationships, 1978 B.Y U. L Rev. 231, 259.
      40 Even when a privilege is asserted by a cabinet official, and not the President, courts are extrem ely
    reluctant to im pose a contem pt sanction and are willing to resort to it only in extraordinary cases and only
    after all other rem edies have failed. In In re Attorney General, 596 F.2d 58 (2d Cir.), cert, denied, 444 U.S.
    903 (1979), the court granted the g overnm ent's mandamus petition to overturn a district co u rt’s civil
    contem pt citation against the Attorney G eneral for failing to turn over docum ents for which he had asserted a
    claim o f privilege. The court recognized that even a civil contem pt sanction imposed on an Executive Branch
    official “has greater public im portance, w ith separation o f powers overtones, and w arrants more sensitive
    judicial scrutiny than such a sanction imposed on an ordinary litigant.” 596 F.2d at 64. T herefore, the court
    held that holding the A ttorney General o f the U nited States in contem pt to ensure com pliance with a court
    order should be a last resort, to be undertaken only after all other m eans to achieve the ends legitim ately
    sought by the court have been exhausted. Id. at 65. In the case of a Presidential claim o f executive privilege,
    there is even m ore reason to avoid contem pt proceedings because the privilege claim has been m ade as a
    constitutionally based claim by the President him self and the sanction involved is crim inal and not civil
    contem pt. The use o f crim inal contem pt is especially inappropriate in the context under discussion because
    Congress has the clearly available alternative o f civil enforcem ent proceedings.

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       compelling need to employ criminal prosecution in order to vindicate its rights.
       The Executive, however, must be free from the threat of criminal prosecution if
       its right to assert executive privilege is to have any practical substance. Thus,
       when the major impact on the President’s ability to exercise his constitutionally
       mandated function is balanced against the relatively slight imposition on
       Congress in requiring it to resort to a civil rather than a criminal remedy to
       pursue its legitimate needs,41 we believe that the constitutionally mandated
       separation of powers requires the statute to be interpreted so as not to apply to
       Presidential assertions of executive privilege.42
          The construction of the statute that is dictated by the separation of powers is
       consistent with the legislative history of the statute and the subsequent legisla-
       tive implementation of the statute. Although at the time the criminal statute was
       enacted, Congress was well aware of the recurring assertions of the right to
       protect the confidentiality of certain Executive Branch materials, it gave no
       indication that it intended the contempt statute to tread upon that constitution-
       ally sensitive area. In the many debates on executive privilege since the
       adoption of the statute, Congress at times has questioned the validity of a
       Presidential assertion of privilege, but, until December of 1982, it never at-
       tempted to utilize the criminal contempt sanction to punish someone for a
       President’s assertion of privilege. Regardless of the merits of the President’s
       action, the fundamental balance required by the Constitution does not permit
       Congress to make it a crime for an official to assist the President in asserting a
       constitutional privilege that is an integral part of the President’s responsibilities
       under the Constitution. We therefore conclude that the contempt of Congress
       statute does not apply to an executive official who carries out the President’s
       claim of executive privilege.
          Nearly every President since George Washington has found that in order to
       perform his constitutional duties it is necessary to protect the confidentiality of
       certain materials, including predecisional Executive Branch deliberations, na-
       tional security information, and sensitive law enforcement proceedings, from
       disclosure to Congress. No President has rejected the doctrine of executive
       privilege; all who have addressed the issue have either exercised the privilege,
       attested to its importance, or done both. Every Supreme Court Justice and every
       Judge of the United States Court of Appeals for the District of Columbia
       Circuit who has considered the question of executive privilege has recognized
       its validity and importance in the constitutional scheme. Executive privilege,
       properly asserted, is as important to the President as is the need for confidenti-

         41 See H am ilton and G rabow , A Legislative Proposal fo r Resolving Executive Privilege Disputes Precipi-
       tated by Congressional Subpoenas, 21 H arv . J. on Legis. 145 (1984).
         42 W e believe that th is sam e conclusion would apply to any attem pt by C ongress to utilize its inherent
       “c iv il” contem pt pow ers to arrest, bring to trial, and punish an executive official who asserted a Presidential
       claim o f ex ecu tiv e privilege. The legislative history o f the crim inal contem pt statute indicates that the reach
       o f the statute w as intended to be coextensive with C ongress’ inherent civil contem pt powers (except with
       resp ect to th e penalties im posed). See 4 2 C ong. G lobe 406 (rem arks o f Rep. Davis). Therefore, the same
       reasoning that suggests that the statute c o u ld not constitutionally be applied against a Presidential assertion o f
       privilege applies to C ongress’ inherent contem pt pow ers as well.

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    ality at certain times in the deliberations of the Justices of the Supreme Court
    and in the communications between members of Congress and their aides and
    colleagues. Congress itself has respected the President’s need for confidential-
    ity; it has never arrested an executive official for contempt of Congress for
    failing to produce subpoenaed documents and never, prior to the heated closing
    moments of the 97th Congress in December of 1982, did a House of Congress
    seek to punish criminally an executive official for asserting a President’s claim
    of privilege.
       Naturally, Congress has and always will resist claims of executive privilege
    with passion and vigor. Congress aggressively asserts its perceived institu-
    tional prerogatives, and it will surely oppose any effort by the President to
    withhold information from it. If it could eliminate claims of executive privilege
    by requiring that an official who asserts such a claim on behalf of the President
    be prosecuted criminally, it would surely be in favor of doing so. Thus, the
    tension between the relative strengths and institutional prerogatives of Con-
    gress and the President necessarily reaches a high level of intensity in any case
    involving a claim of executive privilege. The specter of mandatory criminal
    prosecution for the good-faith exercise of the President’s constitutional privi-
    lege adds a highly inflammatory element to an already explosive environment.
    We believe that the courts, if presented the issue in a context similar to that
    discussed in this memorandum, would surely conclude that a criminal prosecu-
    tion for the exercise of a presumptively valid, constitutionally based privilege
    is not consistent with the Constitution. The President, through a United States
    Attorney, need not, indeed may not, prosecute criminally a subordinate for
    asserting on his behalf a claim of executive privilege. Nor could the Legislative
    Branch or the courts require or implement the prosecution of such an individual.
       In some respects, the tensions between the branches, which become exacer-
    bated during these conflicts, and the pressure placed on the President and his
    subordinates in this context, call to mind the comments of Chief Justice Chase
    concerning the impeachment trial of President Andrew Johnson, over which
    the Chief Justice presided. One of the charges against President Johnson was
    that he had fired Secretary of War Stanton in violation of the Tenure of Office
    Act, which purported to strip the President of his removal power over certain
    Executive Branch officials.43 Chief Justice Chase declared that the President
    had a duty to execute a statute passed by Congress which he believed to be
    unconstitutional “precisely as if he held it to be constitutional.” However, he
    added, the President’s duty changed in the case of a statute which
               directly attacks and impairs the executive power confided to
               him by [the Constitution]. In that case it appears to me to be the
               clear duty of the President to disregard the law, so far at least as
               it may be necessary to bring the question of its constitutionality
               before the judicial tribunals.

      43   The Tenure o f O ffice A ct w as, o f course, later declared to have been unconstitutional. Myers v. United
    States, 272 U.S. 5 2(1 9 2 6 ).

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                  How can the President fulfill his oath to preserve, protect, and
                  defend the Constitution, if he has no right to defend it against an
                  act of Congress, sincerely believed by him to have been passed
                  in violation of it?44
          If the President is to preserve, protect, and defend the Constitution, if he is
       faithfully to execute the laws, there may come a time when it is necessary for
       him both to resist a congressional demand for documents and to refuse to
       prosecute those who assist him in the exercise of his duty. To yield information
       that he in good conscience believes he must protect in order to perform his
       obligation, would abdicate the responsibilities of his office and deny his oath.
       To seek criminal punishment for those who have acted to aid the President’s
       performance of his duty would be equally inconsistent with the Constitution.
          In the narrow and unprecedented circumstances presented here, in which an
       Executive Branch official has acted to assert the President’s privilege to
       withhold information from a congressional committee concerning open law
       enforcement files, based upon the written legal advice of the Attorney General,
       the contempt of Congress statute does not require and could not constitution-
       ally require a prosecution of that official, or even, we believe, a referral to a
       grand jury of the facts relating to the alleged contempt. Congress does not have
       the statutory or constitutional authority' to require a particular case to be
       referred to the grand jury. In addition, because the Congress has an alternative
       remedy both to test the validity of the Executive’s claim of privilege and to
       obtain the documents if the courts decide that the privilege is outweighed by a
       valid and compelling legislative need, a criminal prosecution and the concomi-
       tant chilling effect that it would have on the ability of a President to assert a
       privilege, is an unnecessary and unjustified burden that, in our judgment, is
       inconsistent with the Constitution.

                                                                           T h e o d o r e B. O l s o n
                                                                       Assistant Attorney General
                                                                        Office o f Legal Counsel




          44 R. W arden, An Account o f the Private Life and Public Services o f Salmon Portland Chase 685 ( 1874).
       C h ie f Ju stice C h ase’s com m ents were m ade in a letter w ritten the day after the Senate had voted to exclude
       ev id en ce that the entire cabinet had advised President Johnson that the T enure o f O ffice Act was unconstitu-
       tional. Id. See M. B enedict, The Impeachment and Trial o f Andrew Johnson 154-55 (1973). U ltim ately, the
       S enate d id adm it evidence that the President had desired to initiate a court test o f the law. Id. at 156.

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